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 663. The authors of the two briefs, Plaintiffs Opening Brief in Support of Settlement, Award
       of Attorneys Fees and Expenses, and Incentive Awards ( Plaintiffs’ Brief’) and Defendants’
       Brief in Support of Proposed Settlement ( Defendants’ Brief’), converge on just two points in
       the entire argument: first, that the settlement should be consummated, and second, that should
       it fail to materialize, AMC faces the imminent threat of bankruptcy.


 664. Both sets of counsel advance their respective arguments for settlement by employing fear
       tactics. Notably, neither party offers alternative solutions for raising capital, but instead,
       champion the conversion of APE into AMC conunon stock followed by a reverse stock split.
       The Plaintiffs' counsel had a substantial 20 million dollar incentive to endorse this untenable
       narrative. Similarly, AMC Defendants' counsel acquiesce to this contrived storyline to shield
       their clients from liability and secure releases.


 665. Upon reading both briefs, one is left asking themselves the following question: Whether
       this precipitous settlement is predicated on preserving AMC from financial min or on thwarting
       and impeding the ongoing litigation to preclude stockholders from uncovering the facts.


 666. In both briefs, none of the authors address the conspicuous absence of any deposition
       testimony from Aron, a key participant in the scheme and a material fact witness. While the
       term "scheme does surface in the Plaintiffs' brief, Lead Counsel conspicuously omits any
       reference to the consideration of petitioning the Court for leave to amend the complaint to
       include a cause of action against AMC Defendants grounded in fraud, as a consequence of the
       scheme. One of the elements required to allege for an action for fraud, scienter, has been
       established as a result of discovery.


 667. In the Plaintiffs' Brief, Lead Counsel also aims to enhance credibility and merit for the
       settlement by incorporating the following sentence:


             "The Settlement is a boon for the Class. As detailed above, the Settlement
            Consideration, which is estimated to provide immediate value exceeding $129
            million, is one of the largest class action financial recoveries in Delaware
            history."291


 668. Lead Counsel however diverts attention from the most inculpating document procured
       during discovery, Jon Merriman’s May 27th, 2022 emails, by incorporating the following
       sentence to downplay the impact the supervoting preferred shares had on OPGN, AVGR and
       AGRX , as well as what AMC Defendants knew. Notably, the Plaintiffs' Brief does not


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       D.I. 206 for Case 2023-0215-MTZ
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    reference or mention at all the subsequent stock price movements of OPGN, AVGR nd
    AGRX.

           On May 27, 2022, B. Riley Financial, one of the Company s advisors, sent
          AMC executives Sean Goodman and John Memwether a number of
          prospectuses from issuers that had used supervoting preferred shares to force
          through Certificate amendments. 292


 669. Lead Counsel, in addition to filing the Plaintiffs Brief, submitted an application for
    attorneys’ fees and expenses, along with an incentive award for Plaintiffs in consolidated
    action No. 2023-0215-MTZ. Six affidavits were provided by Lead Counsel, including Mark
    Lebovitch, Michael Barry, Thomas Curry, William Fields, Jeremy Friedman, and Richard A.
    Maniskas. These affidavits attest to the amount of hours their firm dedicated to the prosecution
    of the action.


 670. In the submission, Lead Plaintiffs provided only two affidavits - one from Franchi and
    another from Walter Szymanski, on behalf of ACER. Notably absent was Munoz's affidavit.
    Each affidavit included an application for a $5000.00 USD incentive award, acknowledging
    the time and effort Allegheny and Franchi dedicated on behalf of the Class.293


 671. Plaintiffs’ settlement brief stated that Franchi, ACER, and Munoz had all filed affidavits
    in support of the settlement. This was not true.


 672. The third argument in the Plaintiffs’ Brief requests attorneys’ fees of $20 million, inclusive
    of $121,641.74 in expenses.294


 673. On May 4th, 2023, Jordan Affholter once again penned a letter to Judge Zum expressing
    concerns about the process AMC stockholders must undergo to submit their objections and
    support documents, particularly sensitive information such as brokerage account numbers.
    Jordan Affholter highlighted the potential risk to stockholders, as this information could expose
    their accounts to potential hacking. 295 Jordan Affholter proposed an alternative method for
    the party attorneys to utilize the official stockholder list, rather than a brokerage statement, to
    confirm ownership, which was required for submitting an objection and support document.
    However, Judge Zum did not entertain Jordan Affholter's suggestion. Instead, Judge Zu
    instructed the court administrators to file stockholders' financial information under seal.



 292 D.I. 206 for Case 2023-0215-MTZ
 293 D.I. 206 for Case 2023-0215-MTZ
 294 D.I. 206 for Case 2023-0215-MTZ
 295 D.I. 205 for Case 2023-0215-MTZ
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  674. During the first week of May 2023, Alex Mathew, Jordan Affholter, and Etan Leibovitz
     began collaborating on drafting the AMC Community Objection Brief. Their goal was to
     empower every AMC stockholder who wished to voice their concerns by submitting an
     objection to the proposed settlement with respect to the 2023-0215-MTZ action. Lead Counsel
     refer to this brief as the Form Objection . 296


  675. On May 8th, 2023, at 9:52 am EST, Alex Matthew filed a motion for discovery in the
     consolidated C.A. 2023-0215-MTZ action.


  676. On May 8th, 2023, Corinne Amato submitted her Report and Recommendation regarding
     Tuttle s Motion to Intervene. In her recommendation, Corinne Amato suggests denying the
     motion to intervene, citing the reasoning that it was not the "proper" time for intervention and
     that Brian Tuttle s concerns could be addressed as part of the objection letter process.


  677. On May 8th, 2023, at 1:28 pm EST, Alex Mathew filed his first recusal motion,297 urging
     the recusal of Corinne Amato in the Consolidated C.A. 2023-0215-MTZ action due to a
     conflict of interest. The conflict stems from Corinne Amato's close familial relationship with
     her brother, Barrett Amato, who works in the entertainment industry, specifically in Hollywood
     as an editor with notable credits, as evidenced by his IMDb page:


                               • https://www.imdb.com/name/nm2381892/,
                                        and professional website:
                               • http://www.barrettjamato.com/


     Given AMC's significant presence in the entertainment sector, Barrett Amato's employment
     in the same industry raises conce s about potential bias and impacts on the fai ess and
     impartiality of the proceedings.


 678. On May 8th, 2023 at 2:11 pm EST, Corinne Amato asked if the party attorneys opposed
     Alex Mathew’s motion regarding the release of the discovery record to the putative class
     members.298



 679. On May 8th, 2023, at 3:45 pm EST, Alex Mathew filed his second recusal motion, seeking
     to recuse Corinne Amato in the Consolidated C.A. 2023-0215-MTZ action due to a conflict of


 296 A copy of this objection brief was filed on the docket by Lead Counsel as an exhibit. Lead Counsel
 called it the Form Objection . DI 439 Exhibit Form Objection. Link:
 https://www.docketalamr.com/cases/Delaware_State_Court_of_Chancery/2023-
 0215/IN_RE_AMC_ENTERTAINMENT_HOLDINGS _INC._STOCKHOLDER_LITIGATION/918993
 51/91899352/
 297 DI 230 for Case 2023-0215-MTZ
 298 DI 234 for Case 2023-0215-MTZ
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                                   1761


     interest.299 Alex Mathew argued that Lead Counsel Mark Lebovitch, a partner at Be stein
    Litowitz Berger & Grossmann LLP, representing the class , has previously collaborated with
    Comne Amato on the Globe Specialty Metals Inc. stockholders litigation (Consol. C.A. No.
     10865-VCG). This past professional relationship may create an appearance of impropriety or
     lack of impartiality, potentially undermining the integrity of the proceedings in the current
    case.


 680. On May 9th, 2023, Etan Leibovitz s May 1st, 2023 letter motion, with two attached exhibits,
    was published on the consolidated action No. 2023-0215-MTZ docket, and assigned docket
     indexes #259, #260 and #261. Attached to the letter motion as Exhibit A, Docket Index #260,
    was Etan Leibovitz s Computershare statement, reflecting share ownership of both AMC nd
    APE. Etan Leibovitz’s letter motion sought the following relief:


            a. That the Delaware Chancery Court issue an order sua sponte, directing
               AMC’s Defense Atto ey John Neuwirth to convert his April 25th, 2023
               telephonic conference call statement to the Court, that there are 3.8
               million beneficial stockholder, to an affirmation. Since Adam Aron was
               never deposed by the Plaintiffs’ atto eys, it is imperative that Adam
               Aron also submit an affidavit to the Court substantiating his above Tweet,
               that he conducted 6 share counts , aver the exact amount of stockholders
               that exist with respect to the record date - February 8 11, 2023 - Corporate
               Action March 13th, 2023 vote for 3 proposals, and the amount of shares
               each stockholder owns with respect to AMC and APE. This is not a
               herculean request as pursuant to Delaware General Corporation Law
               §219, AMC should already have a partial list. Now, AMC would have
               to procure the inte ational stockholders. Once a complete list is
               produced to the Court by AMC, to hold said list to account, each
               interested shareholder who wants to participate should be able to call the
               Special Master to inquire what said list has on record for them. If said
               list doesn’t match what the stockholder owns a red flag should go up. It
               is crucial that this Court doesn’t take this request lightly as the
               accountability pendulum should swing both ways. Accurately
               determining the number of beneficial stockholders as well as ownership
               is essential to ensure transparency and accountability in the proceedings
               as well as that fraud is not being committed on the Court as well as on us
               stockholders, (the Affidavit Request ).


            b. Secondly, conce ing the public redacted version of the Verified
               Complaint in case number 2023-0216 MTZ, it contains 101 substantive


 299 DI 241 for Case 2023-0215-MTZ
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               averments, with approximately 27 out of 101 being either entirely or
               partially redacted. In other words, about 27 percent of the averments are
               redacted. In the interest of justice and full disclosure, Mr. Leibovitz
               respectfully requested that an unredacted version of the Verified
               Complaint be made available contemporaneously on AMC s Investor
               Relations Website for inspection for all interested AMC and APE
               stockholders (the Rule 5.1 Challenge );

           c. Thirdly, according to the docket it looks like discovery began on or about
               March 2nd, 2023 when this Court granted the proposed scheduling order
               (Docket Items 39,40) In the interest of justice and full disclosure, Mr.
               Leibovitz respectfully requested that all the documents that have been
               produced and exchanged via the tools of discovery, production of
               documents and deposition transcripts, be made available
               contemporaneously on AMC s Investor Relations Website for inspection
               for all interested AMC and APE stockholders (the Discovery
               Request ). 300


 681. On May 10th, 2023 at 10:23 am EST, Judge Zum published her four page letter addressed
    to Alex Matthew stating in part,


           I write to address your two motions to recuse Special Master Amato. The first
          is denied, and I reserve judgment on the second pending Special Master Amato s
          submission of an affidavit conce ing her alleged conflict. 301


 682. Seven hours and thirty-four minutes later, Corinne Amato filed her three page affidavit
    pursuant to Judge Zum’s instructions addressing if she:


            (a) can hear the case free of bias or prejudice concerning the party seeking
           recusal, and
           (b) “may resolve motions in this case free of bias in light of [my] service
           alongside Mr. Lebovitch in the Jn re Globe Specialty Metals matter. 302


 683. On May 11th, 2023 at 1:46 pm EST, Judge Zum published her two page letter addressed to
    Alex Matthew stating in part,


         Dear Mr. Mathew:


 300 DI 259 for Case 2023-0215-MTZ
 301 DI 265 for Case 2023-0215-MTZ
 302 DI 268 for Case 2023-0215-MTZ
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               I write to address your second motion to recuse Special Master Amato. On May
         10, 2023, I explained that I could not rule on that motion until Special Master Amato
         submitted an affidavit regarding her subjective belief as to whether she may resolve
         motions in this case free of bias in light of her service alongside Mr. Lebovitch in the In re
         Globe Specialty Metals matter. Special Master Amato has since submitted such an
         affidavit. I have reviewed her affidavit and am satisfied that she undertook the subjective
         analysis required by our law. Having previously found that your motion does not point
         to an objective appearance of bias, I conclude that the concerns it raises are unfounded.
         The motion is denied. IT IS SO ORDERED. 303


  684. On May 11th, 2023, Corinne Amato sent a follow-up letter to the party attorneys, in the
     consolidated action No. 2023-0215-MTZ, concerning the putative class members discovery
     motions. 304



  685. On May 12th, 2023, Brian Tuttle filed a motion for declaratory relief and a brief in support
     on the consolidated action No. 2023-0215-MTZ docket.305 Brian Tuttle s motion explained
     that,


          “Defendant’s adversely altered the voting rights and powers of common by giving
         APE a special right. On August, 4, 2022, subsequent the filing of Certificate
         of Designations, Defendants entered into an Agreement with Computershare
         Inc. without shareholder approval. D.B. at 11. Under the accord, the underlying
         Preferred Stock, used to form APE preferred equity units, were deposited with
         Computershare Inc. and governed by a deposit agreement (“the Computershare
         Depositary Agreement ). The Computershare Depositary Agreement instructs
         Computershare to vote all of the preferred stock in its custody “proportionally
         on non-routine matters and routine matters....Ultimately, the stockpiled Antara
         pledged votes were leveraged through The Computershare Depositary
         Agreement to ensure Defendant’s proposals were a lock. Although, without either:
         the Computershare Agreement or Antara deal, Defendants could not harvest the
         required affirmative vote to authorize conversion. 306




 303 DI 275 for Case 2023-0215-MTZ
 304 DI 276 for Case 2023-0215-MTZ
 305 DI 282, 283, 285, 286 for Case 2023-0215-MTZ
 30( DI 285 for Case 2023-0215-MTZ
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                                   1764


 686. On May 15th, 2023, within 20 minutes of each other, both Lead Counsel and AMC s
     defense attorneys, in the consolidated action No. 2023-0215-MTZ, filed their opposition to the
     putative class members discovery motions.307


 687. On May 15th, 2023, Citigroup's analyst Jason Bazinet issued a sell rating on AMC with a
     price target of $1.65.308


 688. Sometime in mid-May of 2023, Jordan Affholter, Alex Mathew, Etan Leibovitz, and with
     the help of a few others, completed the final draft of the AMC Community Objection Brief.
     The AMC Community Objection Brief spanned 87 pages, including exhibits, and was shared
     online freely with AMC stockholders. 309 It included a detailed history of the market
     manipulation of AMC stock, legal analysis, and mathematical analysis of why the proposed
     settlement would harm AMC stockholders. It was later reported that over 200 stockholders
     adopted this template as part of their objection.


 689. The AMC Community Objection Brief presents six arguments why Judge Zurn should
     deny the proposed settlement:

                   • The proposed settlement is not fair and reasonable
                   • The class should not be certified as it fails to satisfy one of the four
                      prerequisites mandated by subsection in Delaware Court of Chanceiy
                       Rule 23(a)
                   • The requested lawyer fee and expense award is unjustified
                   • The Lead Plaintiffs do not deserve an incentive award as they fail to
                       meet the second factor in Raider v. Sunderland
                       The proposed settlement violates the class members' due process rights
                   • The vote on March 14th, 2023, was unlawfully manipulated.

 690. The AMC Community Objection Brief presented alte ative options for a revised
     settlement proposal designed to benefit both AMC and its stockholders:


                   • Establishing an NFT debt repayment fund.
                   • Including retail representation on the AMC Board.
                   • Reforming the stockholder voting process to ensure transparency and
                       verifiability, thereby safeguarding stockholder value. This reform


 307 DI 295 - Plaintiffs' esponse to Class Member's Discovery Requests and DI 294 - Defendants'
 Opposition to Requests to Access the Discovery Record, with a Certificate of Service
 308 https://www.tradingview.eom/news/mtnewswires.com:20230515 :A2907306:0-citigroup-adjusts-amc-
 entertainment-price-target-to-1 -65-from-1 -60-mamtains-sell-rating/
 309 AMC Community Objection Brief DI 439 Exhibit Form Objection. Link:
 https://www.docketalarm.com/cases/Delaware_State_Court_of_Chancery/2023-
 0215/IN_RE_AMC_ENTERTAINMENT_HOLDINGS_INC._STOCKHOLDER_LITIGATION/918993
  51/91899352/
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                     could involve leveraging blockchain technology to track AMC shares
                     and prevent market manipulation effectively.

  691. The AMC Community Objection Brief presents calculations estimating that, as of May
     2023, the proposed settlement would have clawed back very little, if any, value to shareholders:


        Plaintiffs posit that the settlement is valued at approximately $129 million for AMC
        common stock stockholders. However, the Plaintiffs' argument in support of the
        proposed settlement and their request for a $20 million award lacks any reference
        to the $5,150,690,236.70 in total market value that has been eradicated from AMC
        stockholder value since the introduction of the APE share into the US Markets on
        August 22, 2022, less than a year prior. In the aftermath of a loss of approximately
        53.4% in market capitalization, amounting to $5.15 billion, this settlement proposes
        to recover $129 million, a mere 2.5% of the lost market cap value, while
        compensating the Plaintiffs' Counsel with "an award of fees and expenses equal to
        $20 million, reflecting approximately 15.5% of what they exclusivel created
        for the Class. As of May 3rd, 2023, the combined market capitalization of the
        company, for purposes of illustration, remained at $4,493,182,066.[ D.I. 206, pg.
        31 ] By subtracting the current total market capitalization of AMC and APE as of
        May 3rd, 2023 ($4,493,182,066) from the total AMC market capitalization before
        APE ($9,643,872,302.70), the resulting figure, $5,150,690,236.70, represents the
        total market value lost by AMC shareholders in less than a year.



  692. The AMC Community Objection Brief also provided recent historical examples showing
     that reverse splits have damaged shareholder value:


           In the Plaintiffs opening brief, the Plaintiffs acknowledge that if the
           settlement is approved that one cannot definitively predict the price at which
           AMC stock will trade following the Conversion. [ D.I. 206 page 9-10] While
           this statement holds partial truth, recent historical trends of small to mid-cap
           stocks following a reverse split can serve as a basis for estimating potential
           market cap gains or losses. One recent example would be Mullen Automotive
           (Ticker: MULN) Stock. The company announced a 25 for 1 reverse split on
           May 3, 2023, which would take into effect the following day (on May 4th,
           2023). Once the announcement was made, the stock closed down about 21%
           on the day.[ Mullen Automotive Stock Forecast. FXStreet.com. Posted May
           4, 2023. Link: https://www.fxstreet.com/news/mullen-automotive-stock-
           forecast-after-l-for-25-reverse-split-muln-sinks-another-8-on-thursday-
           202305041324] And then on May 4th, 2023, after the reverse split was
           effectuated, MULN shares dropped about another 8%.[ MULN Historical
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           Data, nasdaq.com. Time Range Referenced is May 3-4, 2023. Link:
           https://www.nasdaq.com/market-activity/stocks/muln/historical] The
           MULN reverse split clearly shows how quickly share price and market cap
           can drop as a result of a reverse stock split. MULN is just one example, there
           are countless other companies (e.g., COSM, WISA, SNDL, etc) that also
           experienced massive drops in value post reverse stock split.


 693. The AMC Community Objection Brief also correctly predicted that any settlement value
    of new (actually re-assigned) shares would be instantly wiped out:


         Due to the inherent volatility of the stock, historical patterns of market cap loss
         following reverse splits, and the absence of accountability in market structure
         (e.g., no blockchain verification to prevent brokers or market makers from
         creating synthetic shares), the anticipated $129 million settlement value may
         significantly diminish in a brief period following the conversion, adversely
         affecting long-term AMC shareholders. The majority of the $129 million
         settlement value would represent the presumed AMC stock value before it is
         sold, constituting unrealized gains for most shareholders rather than immediate
         cash value. Nevertheless, shareholders might experience some realized gains
         when they receive cash to replace fractional shares. For the vast majority of the
         settlement value, AMC is reallocating shares they intended to sell on the market
         back to shareholders, which is not equivalent to AMC directly paying $129
         million to their shareholders. Given the history of reverse stock splits negatively
         impacting stockholders, there exists a real possibility that if the market cap of
         AMC common drops by $129 million (a projected 2.9% of the estimated $4.49
         billion market cap), any benefit from this settlement could be instantly wiped
         out. Short sellers often view reverse splits as favorable opportunities. The
         estimated $129 million value is, in essence, highly theoretical and not
         guaranteed to materialize, or if it does materialize, it could be fleeting before
         gradually diminishing over time. In a scenario where AMC common stock is
         aggressively shorted immediately following the reverse split, effectively eroding
         shareholder value, nearly all parties involved in this lawsuit would suffer
         AMC as a company, retail shareholders, Allegheny, and other investors while
         only the attorneys would retain their gains.


 694. The AMC Community Objection Brief asserts that the Lead Plaintiffs are not representing
    the putative class members but instead are representing the interests of the lawyer class to
    secure a swift payout at the expense of the stockholders.
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  695. On May 17th, 2023, Alex Mathew notified Judge Zurn that he had been informed by other
     putative class members over the previous week that their objection submissions to the proposed
     settlement were encountering bounce-back emails from Lead Counsel's email account -
     AMCSettlementObjections@blbglaw.com. These bounce-backs indicated that their emails,
     containing their attached objections, could not be delivered to some recipients. AMC
     stockholders expressed conce that their objections were not reaching their intended
     recipients. Although Lead Counsel's IT personnel eventually resolved the issue, it raises
     questions as to why Lead Counsel's IT department did not detect the issue during testing, if
     testing was indeed conducted. This issue deserves emphasis, especially as Judge Zurn had
     cautioned AMC stockholders that only one submission was permissible.


  696. On May 18th, 2023, Peter J. Walsh Jr. ( Peter Walsh ) filed a three-page letter310 dated
     May 15th, 2023, with the court in the consolidated action No. 2023-0215-MTZ. Peter Walsh
     submitted this letter on behalf of his client Antara. The letter, addressed to Corinne Amato,
     underscores his client s concerns as follows:



              • The potential sharing of subpoenaed documents with AMC
                 stockholders/putative class members due to discovery motions.
              • Antara and its employees have been subject to threatening phone calls and
                 messages from purported AMC stockholders since the commencement of
                 this action.
              • Antara is apprehensive that the disclosure of its confidential information
                 could exacerbate threats to the health and safety of its employees.

  697. Mr. Walsh's letter incorporates zero exhibits or evidence to support its claim.


  698. On May 18th, 2023, Judge Zum granted Etan Leibovitz s first relief, Rule 5.1 Challenge,
     with respect to his May 1st, 2023 letter motion. Judge Zurn ordered that the Franchi and Munoz
     Verified Complaint in the consolidated action No. 2023-0215-MTZ be filed publicly without
     any redactions.


  699. On May 19th, 2023, Theodore Kittila filed his entry of appearance, as counsel for AMC
     stockholder and Objector Rose Izzo, in the consolidated action No. 2023-0215-MTZ.



                       Objectors Discover Motions Are Finally Granted




  310 DI 304 for Case 2023-0215-MTZ
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  700. On May 19th, 2023, Corinne Amato submitted her Report and Recommendation regarding
     putative class members' access to the discovery record. In the report, Corinne Amato
     recommended granting discovery but proposed a confidentiality order, which would
     additionally entail a prohibition on trading AMC stock and APE units until the conclusion of
     the class action. 311 It's noteworthy that this report was submitted less than two weeks before
     the class members objections and support documents were due, on May 31st, 2023. The report
     also highlights the party attorneys for their delayed response to the putative class members'
     motions for discovery.


  701. One important item mentioned in the footnote of Corinne Amato s May 19th, 2023 report
     was:
              Plaintiffs contend that access to the discovery record beyond that filed
            publicly with the parties’ settlement briefs should not be provided.
            Plaintiffs’ Opposition 5. The Court previously indicated its preference for
            the parties to publicly file exhibits to their settlement briefs. See Tr. at 9 (“I
            would ask that the brief be posted on AMC’s investor relations website and
            that it be fully public and that all exhibits that are attached also be posted in
            a fully public manner. ). Plaintiffs, however, filed the exhibits to their
            settlement brief as confidential filings, limiting class access to the
            documents on which plaintiffs claim to have relied when entering into
            the settlement. 312


  702. Clearly absent from Corinne Amato’s May 19th, 2023 report was a recommendation to
     Judge Zum to adjust the timelines for the settlement hearing due to the time lost for the putative
     class members to review the discovery documents. This delay was a result of both party
     atto eys filing the exhibits to their settlement brief as confidential filings. Of note, the putative
     class members lost 16 days of time to review the exhibits and the discoveiy record. Stated
     differently, the actions of the party attorneys resulted in the putative class members losing 59%
     of the time allocated to them to submit their objection or support document.

  703. On May 19th, 2023, Judge Zurn adopted Corinne Amato’s May 19th, 2023 report and
     granted the discovery motions from AMC stockholders and objectors, including Frank
     Maribito, Jordan Affholter, Alex Mathew, and Etan Leibovitz. This decision enabled AMC
     stockholders to access the existing discovery record.

  704. On Friday evening, May 19th, 2023, Judge Zum requested any feedback from the party
     attorneys and objectors, who filed discoveiy motions, by the end of the day for a potential
     Saturday hearing regarding the discovery record. However, no one submitted any feedback in
     time. On May 20,h, 2023, Judge Zurn issued a letter opinion adopting Corinne Amato’s report

  311 DI 307 for Case 2023-0215-MTZ
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      regarding discovery. Judge Zum instructed the parties to publish the exhibits to the Plaintiffs'
      and Defendants' Settlement Briefs and the unredacted Franchi and Munoz complaint on the
      docket and publicly on AMC s website.313

  705. On May 20th, 2023, Lead Counsel and AMC s defense attorneys finally made the discovery
      record available on their website. The discovery record comprises:


               • Daniel Meyer s transmittal affidavit - 37 Exhibits, 928 pages
               • Kevin Gallagher’s transmittal affidavit, - 28 Exhibits, 731 pages
               • Franchi and Munoz Verified Complaint without any redactions - 52
                  pages


  706. Daniel Meyer’s transmittal affidavit incorporates at least five exhibits that are incomplete.
      For instance, Exhibit 14 is an email dated December 8th, 2022, with a timestamp of 1:19 pm,
      authored by Derek Van Zandt. Derek Van Zandt’s email includes a PDF attachment named
       2022.12 AMC APE Investment Analysis_v6.pdf, indicating it underwent 6 versions.
      However, Daniel Meyer’s transmittal affidavit fails to include this crucial PDF file in Exhibit
      14, rendering it an incomplete record. Similar incompleteness is observed in the following
      exhibits:

           Exhibit # Document                           Missing File
          Exhibit 14 Email               PDF 2022.12 AMC APE Investment Analysis_v6.pdf
          Exhibit 15 Email               Excel Sheet - AMC APE Model.xlsx
           Exhibit 19 Email             3 PDF attachments - Opgenlnc_20211015_424B5 (Final
                                         Prospectus - Priced Offering (S-3)).pdf;
                                         AvingerInc_20220113_424B5 (Final Prospectus -
                                         Continuous Offering (S-3)).pdf;
                                         AgileTherapeuticsInc_20220314_424B5 (Preliminary
                                         Prospectus (S-3)).pdf
          Exhibit 20 Email               Excel Sheet Institutional Investor Ownership Report
                                        AMC_May 17 2O22.xlsx
          Exhibit 24 Email              PDF AMC- Rights Offering Prospectus
                                         Supplement_WEIL_98448255_31 .pdf


  707. On May 22nd, 2023, Anthony Rickey filed his entry of appearance with the court, as counsel
      for Rose Izzo, in the consolidated action No. 2023-0215-MTZ. 314




  313 DI 312
  314 DI 315
Case 4:23-cv-00732-ALM-KPJ Document 104-3 Filed 08/23/24 Page 13 of 75 PageID #:
                                    1770



  708. On May 22nd, 2023, Jordan Affholter filed a motion with the court, in the consolidated
     action No. 2023-0215-MTZ, for an enlargement of time and objection to the discoveiy process
     regarding the potential due process issue arising from the previously sealed exhibits originating
     from the Plaintiffs and Defendants Settlement Briefs. Jordan Affholter writes in part,


               As per the Court instructions, the cited exhibits [The cited exhibits in the
              Plaintiffs’ and Defendants’ Briefs posted on AMC’s site. May 20, 2023. Link:
              https://investor.amctheatres.com/financial-performance/Shareholder-Meeting-
              Information/] were posted on AMC’s website on Saturday May 20, 2023. Said
              documents should have been provided to stockholders (and class members)
              much earlier as it provides vital infon ation for both objectors and supporters in
              drafting their objection or supporter documents before the quickly approaching
              May 31, 2023 deadline. Given that the Plaintiffs cited exhibits exceed 900
              pages and the Defendants cited exhibits exceed 700 pa es, this delay puts
              unnecessary burden on objectors and supporters to review before May 31,
              2023. On Exhibit 1, page 8 of the Plaintiffs cited exhibits (an email from Mr.
              Van Zandt),[ AMC OOOOOSO] it clearly sho s an alleged quid pro quo
              scheme between AMC, Citi, and Antara, where Antara was willing to put
              up a set amount of capital in order to allow AMC to rig the vote.
              Furthermore in that email, it states that AMC would lift the restriction for Antara
              selling APE shares if the price went above 3 dollars, ensuring Antara would have
              a windfall of profit. How is this not market manipulation, insider trading, and
          rigging of corporate votes? And furthermore, why didn t Lead Counsel and
          Lead Plaintiff share this vital information before May 20, 2023 to the
          putative class they claim to represent? Several class members had already
          submitted their objection and support documents without properly been given
          notice. 315



  709. Jordan Affholter further writes,


               In the Plaintiffs’ Brief, Lead Counsel states that Counsel spent 3,330.75 hours
          litigating this action on an expedited basis, which included review of over 56,000
          pages of documents produced by Defendants and over 2,500 pages of documents
          produced by third-parties. [D.1.206 at 55] Access to discovery has been granted
          to applicable class members or movants in order to assist in determining whether
          they object or support the proposed settlement on May 31, 2023. Given the
          complexities of this case, that gives class members up to 8 business days (10
          total days) to review the discoveiy record (up to 58,000 plus pages of


 315 DI 320
Case 4:23-cv-00732-ALM-KPJ Document 104-3 Filed 08/23/24 Page 14 of 75 PageID #:
                                    1771



               documents). Lead Counsel in this matter are experienced attorneys, while the
               vast majority of the settlement class are not attorneys, and reflect a wide
               st tistical spread of technical and legal understanding. It is not mathematically
               possible for any class member to be able to review the majority of the
               discovery documents within 1-2 weeks in order to meet the objection and
               support letter deadline on May 31st, 2023.


  710. Jordan Affholter s May 22nd, 2023 motion also calls out how restrictive the confidentiality
      agreement was,


                However, by signing this agreement, paragraph 8 essentially locks the
               objectors and supporters into not being able to buy or sell their legally
               owned AMC stock until a final judgement has been rendered either in the
               Trial Court or the Appellant (sic) Court. That time frame could potentially
               take months or years. It is incontrovertible that AMC is a highly volatile stock.
               Between November 2020 and February 2021, AMC stock traded between 1.91
               and 20.36. Between May and June 2021, AMC ran up from around 8.93 dollars
               to a high of 72.62 dollars. In March 2022, the stock traded between 12.90 and
               34.33.[ Yahoo Finance Ticker AMC (NYSE Exchange). Various Time Ranges
               Referenced between 2020-2023 https://fmance.yahoo.com/quote/AMC
               Accessed on May 22, 2023. ] So if AMC s stock price runs up again (like it did
               historically) at any point between signing this agreement and the resolution of
               this matter, then objectors and supporters who execute this confidentiality
               agreement would not be able to buy or sell, and if they do, they have to report
           themselves to the SEC. In the case of AMC stock running up higher, that is not
               something the objectors and supporters control. On the reverse side, if an
               objector and supporter have an issue of financial hardship (loss of job, medical
               emergency, natural disaster, severe market turmoil, etc), then based on this
           agreement the objector and supporter would not be able to sell. 316



  711. Jordan Affholter s May 22nd, 2023 motion concludes by requesting an enlargement of time
      to file an objection or support document from May 31st, 2023 to June 14th, 2023.317


  712. On May 23rd, 2023, Corinne Amato issued her report regarding Jordan Affholter s May 2nd,
      2023 notice correspondence and denied his application. Conine Amato found no basis to infer
      that any statement by Mr. Neuwirth on April 25th, 2023, was incorrect, much less that Mr.
      Neuwirth lacked an objective, good faith belief about the veracity of the statements.


  316 DI 320
  317 DI 320
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                                    1772



     Additionally, Corinne Amato disagreed with Jordan Affholter's contention that Mr. Neuwirth s
     statements regarding AMC's cash position conflicted with Aron's representations in a tweet six
     days l ter.


  713. On M y 24th, 2023, Judge Zurn denied Jordan Affholter s May 22nd, 2023 motion for an
     enlargement of time and objection to the discovery process. At no point did Judge Zurn
     consider or entertain a blind trust as a solution to the draconian confidentiality agreement.


  714. On May 24th, 2023, at 2:59 pm EST, AMC s defense attorneys filed their opposition to
     Jordan Affholter’s request to extend the deadline to submit objections. They argue that,


                In any event, Mr. Affholter’s extension request is meritless. Time remains
               of the essence, and the notion that putative class members - and Mr.
               Affholter in particular - need more time to consider, prepare, and submit
               objections to the proposed settlement is wrong. 318


  715. On May 24th, 2023, at 7:36 pm EST, Lead Counsel filed their opposition to Jordan
     Affholter’s request to extend the deadline to submit objections. They argue that,


                Extending the objection deadline by two weeks would effectively render the
               June 29-30 settlement hearing impossible. Two additional weeks of
               objections would leave the parties, the Special Master, and the Court just 14
               days to file a reply brief, make a report and recommendation, and consider
               the report and recommendation and any exceptions thereto, respectively.
               Denying the request will not prejudice putative objectors, who were given 30
               days to object and received significant protections for their rights leading to
               the settlement hearing, including multiple forms of notice, the opportunity to
               access the nonpublic discoveiy record, and the opportunity to appear in
               person. The two operational errors identified by Mr. Affholter for which
               Plaintiffs’ counsel takes responsibility do not justify modifying the
               Scheduling Order in a manner that would almost certainly adjourn the June
               29-30 hearing. 319


  716. On May 25th, 2023, Corinne Amato filed the Report and Recommendation regarding
      Jordan Affholter's motion for enlargement of time and objection to the discoveiy process.
      Corinne Amato’s report states,




  318 DI 333
  319 DI 335
Case 4:23-cv-00732-ALM-KPJ Document 104-3 Filed 08/23/24 Page 16 of 75 PageID #:
                                    1773



                I recommend that the Court deny Affholter s request to enlarge the time for the
               submission of written objections and grant Affholter s request that the Court
               accept in-person appearance forms postmarked on or before May 31, 2023, even
               if not received until after May 31, 2023. 320


  717. On May 26th, 2023, Jordan Affholter filed a motion for an adjournment of the settlement
        hearing due to the violation of the putative class members due process rights. The motion
        highlights the defendants' lack of due process in notifying the settlement class. Jordan Affholter
        states that he and many other putative class members did not receive their postcards, which
        were supposed to notify them of the objection deadline by May 24th, 2023. The motion
        concludes in part,


                 ... because the Plaintiffs and Defendants failed to properly notify the
                settlement class members by the deadline, and the Court stated that the
                timeline will only ork if postcards will generally be delivered by May
                24, 2023 [ D.I. 175 Letter to Counsel from Vice Chancellor Zurn, dated
                April 28, 2023, regardin revisions to settlement documents. April 28,
                2023.] -1 as a pro se interested party in this matter as well as an objector -1
                submit this motion as a (sic) Appeal for Adjournment of the Settlement
                Hearing and for the Court to postpone the settlement hearing to a later date
                than June 29-30, 2023 so that the putative class members can be properly
                served due process and have proper time to fully review the newly documents
                and potential discovery before submitting their objection or support
                document. This new scheduling timeline should include an updated objection
                and support document deadline for submission. 321


  718. On information and belief, Rose Izzo was the only AMC stockholder and Theodore Kittila
        and Anthony Rickey were the only atto eys, who executed the confidentially agreement in
        order to review the complete discovery record.


  719. On May 26th, 2023, Etan Leibovitz filed a motion322 with the court in the consolidated
        action No. 2023-0215-MTZ, pursuant to the authority granted under the Court of Chancery
        Rule 23 and the 14th Amendment Due Process Clause of the United States Constitution. Etan
        Leibovitz’s motion reads in part,



  320 DI 341
  321 D.I. 345 for case 2023-0215-MTZ. Link:
  https://www.docketalann.com/cases/Delaware_State_Court_of_Chancery/2023-
  0215/IN_RE_AMC_ENTERTAINMENT_HOLDINGS_INC._STOCKHOLDER_LITIGATION/918394
  72/
  322 DI 343
Case 4:23-cv-00732-ALM-KPJ Document 104-3 Filed 08/23/24 Page 17 of 75 PageID #:
                                    1774



        1. I am a shareholder of AMC Entertainment Holdings, Inc. and on May 9th, 2023,
           I established my standing before this Court when my omnibus motion was
           submitted and docketed with this Court. Attached to said motion as Exhibit A
           was my Computershare screenshot.


        2. I am currently drafting my objection brief and one of my arguments is the
           process that this Court elected to adopt, to provide the putative class members
           with notice, was in violation of AMC stockholder s 14th Amendment right and
           in violation of Chancery Rule 23(b)(3).

        3. On April 25th, 2023, a telephonic conference call was held. This Court opened
           up the discussion citing precedence and stating that the Court is hesitant to
           forego notice by mail.


        4. Given the legal effect of the proposed settlement, putative class members
           should be provided with sufficient notice and the opportunity to be heard with
           respect to the terms - and consequences of this agreement. Both elements are
           fundamental guarantees of the Fourteenth Amendment's, which "at a minimum
           ... require]s] that deprivation of life, liberty, or property by adjudication be
           preceded by notice and opportunity for hearing appropriate ISee DI 259-261 to
           the nature of the case. "2 "This right to be heard has little reality or worth unless
           one is infon ed that the matter is pending and can choose for himself whether
           to appear or default, acquiesce or contest."


        5. Delaware Court of Chancery Rule 23 mandates that each stockholder be given
           notice with respect to the scheduled settlement hearing (i]n any class action
           maintained under paragraph (b)(3), the Court shall direct to the members of the
           class the best notice practicable under the circumstances, including individual
           notice to all members who can be identified through reasonable effort.


        6. Notice need only be sent to record holders. Delaware law contemplates the use
           of a record date for delivering notice.


        7. In Kahn v. Sullivan, 594 A.2d 48 (Del. 1991), the Court of Chancery directed
           that for settlement pui oses, the Sullivan action would be maintained as a
           stockholder derivative action and as a class action. The action was to be
           maintained by those plaintiffs, as representatives of the class who held
           Occidental common stock on April 6, 1989, and their successors in interest up
           to and including January 2, 1990, excluding the defendants and members of
           their immediate families. A settlement hearing was scheduled for April 4, 1990.
           The Notice of Pendency of Class and Derivative Action, Proposed Settlement,
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           Settlement Hearing and Right to Appear, was sent to all class members one
           month prior to the hearing.


        8. On June 6, 1990, after the case had already been taken under advisement, the
           Court of Chancery was informed that the Notice of the Settlement Hearing was
           not sent to a number of shareholders because of an oversight. The Court of
           Chancery directed that notice be sent to those stockholders. Supplemental
           notice was sent on June 15, 1990 providing that any additional objections to the
           Settlement could be filed up to July 16, 1990. In response to that notice only
           two letters were received, neither of which asserted any new basis for an
           objection.


        9. Subsequently, on behalf of the AMC Defendants, Attorney John Neuwirth
           ( Mr. Neuwirth ) made the following representation to the Court on April 25th,
           2023, stating in part that


                by our estimation the number of beneficial stockholders is
               approximately 3.8 million the cost of mailing to that many
               stockholders is approximately $2.9 million dollars Which is
               significant.

        10. Here, Mr. Neuwirth only estimates the number of beneficial stockholders, not
           record holders of AMC Common Stock


        11. On April 28th, 2023, this Honorable Court published a letter providing the
           Parties the following notice:


                This schedule depends on prompt initiation of postcard notice, and
               will only work if postcards will generally be delivered by May 24,
               2023. Acceptance of this schedule constitutes a representation that
               postcards can be expected to be delivered by then. I have committed
               to delivering a written opinion on the settlement terms rather than a
              bench ruling at the hearing, so a June 28 deadline for exceptions
               should not meaningfully slow my ruling. Alternatively, we can
              move the hearing back.



        12. On May 1st, 2023, the Scheduling Order with respect to Notice and Settlement
           Hearing (“Scheduling Order ) was entered making May 8th, 2023 the Notice
           Date.
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        13. Pursuant to the Scheduling Order, no later than May 8th, 2023, the Notice
           Administrator was mandated to mail a post card notice to all record holders of
           AMC Common Stock and request that, within five (5) business days of such
           request, any record holders of AMC Common Stock who are nominees or
           custodians for beneficial holders provide either physical addresses or email
           addresses for all such beneficial owners to which the post card notice can be
           sent or request copies of the postcard notice from the Notice Administrator to
           mail to such beneficial owners.


        14. Throughout the entire proceedings, this Honorable Court failed to probe the
           basis of Mr. Neuwirth's "estimation" and to procure the exact amount of record
           holders of AMC Common Stock.


        15. It remains unclear upon what point of reference this estimation was even
           derived from. These unresolved issues cast a cloud of uncertainty over the
           proceedings, thereby warranting further examination to ensure justice is served
           in an equitable and fair manner.


        16. Throughout the proceedings, this Honorable Court has conspicuously refrained
           from issuing a court order that would mandate the AMC Defendants to provide
           a comprehensive list of record holders of AMC common stockholders.


        17. This Court's Scheduling Order of requiring "all record holders" is notably
           devoid of specificity, lacking essential parameters such as a record date. Such
           absence of clarity leaves open the question as to which precise record holders
           of AMC Common Stock list is being leveraged for the stockholder postcard
           notice process.


        18. Is it the record holders of AMC Common Stock list from May 1st, 2023 that
           forms the basis for the distribution, or is it the record holders of AMC Common
           Stock list up to May 8th, 2023? Is there an evolving or dynamic record holders
           of AMC Common Stock list that is tabulated and updated daily that forms the
           basis for this process?


        19. This Honorable Court has not delineated a lucid protocol by which the AMC
           Defendants could be held to account for ensuring that each record holder of
           AMC Common Stock is in receipt of the postcard notice.


        20. Indeed, the Honorable Court seems to lack requisite knowledge concerning the
           identity of the record stockholders, as stipulated under Paragraph 14 of the
           Scheduling Order. Such a serious oversight indicates a significant gap in the
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               Court's understanding and administration of the process, thus compromising the
               efficacy of the stockholder notification procedure.


           21. To substantiate my above referenced argument, I respectfully request that this
               Court grant my application, thereby mandating the AMC Defendants to
               generate and submit a comprehensive report that explicates the methodology
               employed in processing the postcards, clarify which specific record holders of
               AMC Common Stock list was utilized, and disclose the original source of this
               list, supported by swo affidavits. Such an order would significantly contribute
               to ensuring due process and maintaining the integrity of these proceedings.


           22. Should this Court deny this motion, I reserve the right to file my objection
               subsequent to this Court s decision should it be rendered after May 31st,
               2023 and in addition file my in person settlement affirmation with this
               Court. At no point am I waivin my right to file my objection and my in
               person court appearance affirmation.



                              Usbaldo Munoz is removed as a Lead Plaintiff


  720. On May 26th, 2023, Lead Counsel Thomas Curry filed a motion with the court in the
        consolidated action No. 2023-0215-MTZ, to withdraw its appearance on behalf of one of the
        three lead plaintiffs, Munoz.323 In support of his application, Thomas Curry gave Judge Zurn
        notice that Munoz has ceased responding to communications from plaintiffs counsel or
        otherwise participating in this action. After duly advising Munoz, plaintiffs counsel now seek
        to terminate their representation of him. Separately, the other two lead plaintiffs, ACER and
        Franchi move for entry of an order dismissing Munoz from this action to allow the matter to
        move forward.



  721. On May 26th, 2023, Corrinne Amato recommended that the Court DENY the Requests to
        Intervene and any other requests to intervene made in advance of the settlement hearing
        without prejudice. 324




  323 D.I. 344 for case 2023-0215-MTZ.
  324 D.I. 350 for case 2023-0215-MTZ. Link:
  https://www.docketalann.com/cases/Delaware_State_Court_of_Chancery/2023-
  0215/IN_RE_AMC_ENTERTAINMENT_HOLDINGS_INC._STOCKHOLDER_LITIGATION/918408
  84/
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  722. On May 28th, 2023, at 9:23 pm, Theodore Kittila, filed his letter addressed to Judge Zum
     on the Delaware Chancery Court docket in the consolidated action No. 2023-0215-MTZ. 325
     Theodore Kittila s letter outlines four concerns:


                  • Plaintiffs did not serve Rose Izzo with their May 26th, 2023 motion to
                      withdraw its appearance on behalf of Munoz, despite Theodore ittila
                      and Anthony Rickey s entry of appearance a week ago.

                  ® Theodore Kittila and Anthony Rickey re currently drafting an objection
                     to the proposed settlement and only discovered said motion during their
                     review of the docket in preparation for filing. Rose Izzo intends to
                     respond said motion and may seek (1) a brief extension of time to file
                     her objection (which must now be modified to reflect this late-breaking
                     development that Plaintiffs revealed over a holiday weekend) and/or (2)
                     a deposition of Munoz.

                  • Theodore Kittila had specifically asked Plaintiffs counsel for a copy of
                     Munoz’s Rule 23(e) affidavit in a May 20th, 2023 email, but received no
                     response.

                  • Theodore Kittila reasonably assumed that Munoz s affidavit
                     existed: it is referenced on page 51 of Plaintiffs opening brief in
                     support of the proposed settlement. Said motion now indicates that
                     this is not true. Rose Izzo’s response to said motion, which she intends
                     to submit early Tuesday, May 30th, 2023, will describe the prejudice that
                     said motion causes to her ability to object, as well as elements of the
                     factual record (yet undisclosed to the Court) that make Munoz’s
                     dismissal inappropriate.


  723. On May 28th, 2023, Jordan Affholter submitted his reply with the court, which was
      classified as an exception to Corinne Amato’s report, in the consolidated action No. 2023-
      0215-MTZ, st ting in part,


               With the recommended Special Master’s denial of Mr. Affholter’s request
          for more time for a class member like himself (or possibly other class
          members) to review the newly posted documents totaling 1,714 pa es before
          submitting their objection or support document before the May 31, 2023
          deadline, the Court is stating on the record that burdening the putative class
          with 5.19 hours worth of review over 11 days straight is sufficient time for
          class members to review. In this document, Mr. Affholter even provided the
          mathematical equation to prove that class members such as himself did not



  325 DI 354
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                                    1779



          have enough time to review: 1. As mentioned, new documents posted included
          the cited exhibits in the Plaintiffs Brief (928 pages) and the cited exhibits in the
          Defendant s Brief (734 pages) and also the unredacted original complaint (52
          pages), which totals 1,714 new pages for review. The umedacted original
          complaint is in 14 pt font and has copyable text. The Defendants’ exhibits contains
          mostly small font (under 14 pt) and has mostly copyable text. Meanwhile, the
          Plaintiffs’ exhibits contains mostly small font and has very little copyable text.
          Overall, the cited exhibits include a mix of emails, public releases and filings,
          detailed financial charts, and technical presentations. Due to the level of technical
          detail, small text, and lack of copyable text, the amount of time needed to read and
          to take notes (applicable to the objection or support document due by May 31,
          2023), an estimation of an aggressive review pace would be reviewing 1 page per
          2 minutes (or 30 pages per hour). To estimate the time needed to review, the
          equation would be the following: total pages (1,714) divided by days remaining to
          the deadline from original posting (11 days), and then divide by the review pace
          per hour (30 pages per hour). Based on the equation, it would require Mr.
          Affholter as a class member to dedicate 5.19 hours per day every day before
          the deadline just to review the 1,714 pa es of new documentation that was
          released several weeks late. Mr. Affholter called out the special master again,
           In the page 8 footnotes of the Special Master report, the Special master asserts that
           Affholter’s use of the settlement brief exhibits in the Motion to Enlarge
          demonstrates the ability to timely review and make use of those exhibits. [ D.I.
          341] This is a complete misrepresentation by the Special Master without providing
          any evidence. Mr. Affholter’s motion specifically referenced page 8 of the 928
          page cited exhibits to the Plaintiffs’ Brief. As of this time, Mr. Affholter has
          reviewed the unredacted original complaint (52 pages), but has had not had the
          opportunity to fully review the cited exhibits in the Plaintiffs’ Brief (928 pages) and
          the cited exhibits in the Defendant’s Brief (734 pages), and still has over 1,500
          pages left to review. 326


  724. On May 29th, 2023, Jordan Affholter filed a motion for a report filed under oath, a hearing,
      and shareholder data audit due to the violation of the putative class members' due process
      rights. In this motion, Jordan Affholter requested Judge Zum to compel the AMC defendants
      to fu ish their shareholder list, any share count data, and infonnation regarding the March
      14th, 2023 shareholder vote. Additionally, the motion called for both plaintiffs and defendants
      to produce an affidavit report detailing the sequence of events leading to the oversight of failing
      to notify the settlement class within the stipulated time frame. Furthermore, it proposed that
      Judge Zurn convene a hearing to address the issue of delayed notification to settlement class



  326 DI 352 and also main points submitted in DI 363
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      members, with the aim of rectifying this oversight and establishing a revised timeline. This
      motion also explicitly stated,


                Should this Court deny this motion, I reserve the right to file my objection
               following this Court s decision should it be rendered after May 31st, 2023 and
               also file my in person court appearance affirmation with this Court. I am not
           waiving my right to file my objection and my in person court appearance
               affirmation.


  725. On May 29th, 2023, Theodore Kittila filed his affidavit in support of response and a cross¬
      motion to lead counsel s motion for withdrawal of their representation of Munoz and to dismiss
      Munoz as lead plaintiff. Theodore Kittila’s cross motion sought the following relief:


                              • Extension of time to file Rose Izzo’s Objection
                              • Permission to notice deposition on Munoz.327


  726. On May 30th, 2023, Judge Zurn denied Brian Tuttle's exception to Corinne Amato's May
      8th, 2023 report regarding his motion to intervene. Judge Zum agreed with Corinne Amato’s
      initial recommendation to deny Brian Tuttle’s motion to intervene and stated that concerns
      should be addressed in the objection letter.


  727. On May 30th, 2023, at 4:00 pm EST, Theodore Kittilia filed his response to combined
      motion by Lead Counsel to withdraw its appearance on behalf of Munoz and motion by Lead
      Plaintiffs ACER and Franchi to dismiss Munoz and (ii) cross-motion for extension of time and
      permission to notice deposition on Munoz. 328 Theodore Kittlia makes the following two
      arguments,


                • By concealing the fact that Mr. Munoz never signed a Rule 23(e)
                   affidavit, Plaintiffs have prejudiced Ms. Izzo and other objectors, who
                   must now revise their objections with less than two business days before
                   the current deadline. Ms. Izzo therefore moves for a three-day extension
                   to the cur ent objection deadline to June 3, 2023.
                • Moreover, the Motion is notable for what it, and the accompanying
                   affidavit of Mr. Kupka, do not say: whether, based upon Plaintiffs’
                   counsels’ conversations, Mr. Munoz continues to support the proposed
                   Settlement. This would not be the first case where a purported class
                   plaintiff recanted their support on the ever of a settlement hearing. The


  327 DI 357
  328 DI 362
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                                    1781



                Class should know whether Mr. Munoz who appears to be the Plaintiff
               with the largest ownership stake by orders of magnitude has changed his
               mind. Thus, Ms. Izzo further moves the Court for the opportunity to
               depose Mr. Munoz.




  728. In support of his response, Theodore Kittila highlights key points,


            • The Court schedule for the settlement hearing gave potential objectors
               onl 27 days to respond to the opening briefs.
            • On May 4th, 2023, Lead Plaintiffs filed their Opening Brief, supposedly
               supported by Affidavits of Munoz, Franchi and ACER. However, Lead
               Counsel onl filed affidavit on behalf of ACER and Franchi.
            • These Affidavits were not mere formalities: they revealed new
               information. For instance, Franchi only pur orted to have continuously
               owned AMC stock since November 8th, 2022 - over two months after
               AMC issued the APEs to holders of AMC Common stock.
            • On the same day Lead Counsel filed their Opening Brief, the AMC
               Defendants attorneys filed their brief in support of the Settlement,
               asserting that unless revenue and attendance levels rise, the failure to
               obtain additional liquidity through equity capital would likely result in
               bankruptcy.... The next day, AMC filed it first quarter results, crowing
               that both revenue and attendance increased by 21.5% and 21.9%,
               respectively, over the same period in 2022.
            • Ms. Izzo s counsel began to incorporate this new and more optimistic
               information into a potential objection. Meanwhile, they assumed that
               Plaintiffs failure to file the required affidavit was an oversight, given that
               their opening brief cited to, and relied upon, the existence of Mr. Munoz s
               affidavit.
            • On May 20th, 2023, Ms. Izzo’s counsel emailed Plaintiffs counsel
               concerning the process for gaining access to discovery infon ation
               permitted by the Court. In that email, Ms. Izzo’s counsel asked Plaintiffs
               counsel to let us know where the [Munoz Affidavit] could be found?
            • Plaintiffs counsel never responded. Instead, on May 26th, 2023, they filed
               their present Motion, without serving Ms. Izzo’s counsel, revealing for
               the first time that Mr. Munoz “has not submitted an affidavit in support
               of the settlement. As reflected in the Kupka Affidavit, “Mr. Munoz
               stopped responding to communication as of May 20, 2023 - the day that
               Ms. Izzo’s counsel emailed Plaintiffs’ counsel seeking the whereabouts
               of the Munoz Affidavit. From that point on, all that is known is that a
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                   flurry of emails, text messages, and phone calls were sent/made to Mr.
                   Munoz, with no response coming. Without a word to Mz. Izzo s counsel,
                   Plaintiffs counsel now seek to withdraw from their representation of Mr.
                   Munoz, and ACER and Franchi seek to dismiss him as Plaintiff.



  729. On May 30th, 2023 at 4:48 pm EST, Corinne Amato submitted her report and recommended
      denying Jordan Affholter’s May 26th and 29th, 2023 motions and Etan Leibovitz’s May 26th,
      2023 Notice of Motion Oral Argument Requested. 329


  730. On May 30th, 2023 at 4:56 pm EST, Lead Counsel filed their reply to Theodore Kittila’s
      4:00 pm response.330



  731. On May 30th, 2023 at 9:07 pm EST, Theodore Kittila filed his reply to Lead Counsel’s
      4:56 pm reply.331 Theodore Kittila hammers Lead Counsel stating,


          Plaintiffs response to Ms. Izzo’s cross-motion attempts to tar Ms. Izzo with the
          brush of a conspiratorial online mob. A few points must be made in response to
          this guilt-by-association.

               First, as Plaintiffs’ counsel admits, facts related to the representative
               plaintiffs are relevant to class certification. Objectors are entitled to
               challenge class certification and the adequacy of the purported
               representatives of the Class. They are not limited to simply focusing on the
               weaknesses of the Settlement.

               Second, despite the volume of ink Plaintiffs spill attacking anonymous
               posters on Twitter (none of whom are Ms. Izzo), Plaintiffs’ counsels’
                informed conjecture is not admissible testimony: neither Ms. Izzo, the
               Court, nor anyone else need accept that speculation as evidence. When a
               party changes position, discovery is appropriate to address speculation to
               determine what the facts actually are. Seeking such discovery is not
               “theatrics, a “gimmick, or “punishment to the deponent.

               Third, for all that Plaintiffs’ counsel purport to be insult[ed] , Ms. Izzo’s
               counsel have had the courtesy to respond to their emails. Plaintiffs’ counsel
               have not. Had Ms. Izzo’s counsel’s question been promptly addressed by
               Plaintiffs’ counsel concerning the Munoz Affidavit, perhaps this dispute



  329 DI 365
  330 DI 366
  331 DI 367
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               could have been avoided. As it is, Ms. Izzo s counsel have wasted valuable
               time addressing issues Plaintiffs now contend are moot.

               Finally, what Plaintiffs counsel castigate as a conspiratorial online mob
               are Class Members. This litigation will likely determine the allocation of
               over a billion dollars of AMC’s capital. Plaintiffs’ counsel have chosen to
               denigrate those who question their preferred process. Unsurprisingly,
               passions are running high on both sides. It would not be difficult to amass a
               volume of rude online comments offered by proponents of the Settlement. It
               would, however, be irrelevant, and inappropriate for Ms. Izzo or her counsel
               to suggest those comments reflect on Plaintiffs. Plaintiffs’ suggestion that
               Delaware counsel may be intentionally “fanning the flames of toxic
               misinformation on social media is baseless.



  732. On May 31st, 2023, Alex Mathew submitted an over 250-page Memorandum with the court
      in the consolidated action No. 2023-0215-MTZ, documenting the manipulation surrounding
      AMC stock.


  733. Also on May 31st, 2023, Judge Zurn issued her written decision regarding the combined
      motion to withdraw and dismiss Munoz as a lead plaintiff and Rose Izzo's cross-motion for an
      extension of time to file their objection and to depose Munoz. Judge Zurn writes that,


           “Izzo may want to know whether and why Munoz may have changed his mind,
          and Izzo may be frustrated by plaintiffs’ counsel’s communication about Munoz’s
          affidavit, but at the end of the day, none of those topics are relevant to the good
          faith negotiation of the settlement terms or the competency of the settlement.
          Even if Munoz now believes the settlement to be a bad deal, he would be free to
          object, and lead counsel could still present the settlement on behalf of the other lead
          plaintiffs. Izzo is not entitled to explore Munoz’s absence after he agreed to the
          settlement. Izzo’s request that all objectors be given an extra three days to
          file objections is denied. 332


  734. Judge Zurn further writes that,


          “The Combined Motion will be held in abeyance pending notice to Munoz and an
          opportunity for him to be heard. The plaintiffs’ counsel should file an updated
          certificate of service reflecting service on Munoz. 333




  332 DI 369
  333 DI 369
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  735. On May 31st, 2023, several letters from AMC stockholders were filed with the court in the
      consolidated action No. 2023-0215-MTZ.334 These four stockholders submitted proof of stock
      ownership with their letters and informed Judge Zum that they did not receive their postcard
      notice on time, citing concerns about the lack of due process.


  736. On May 31st, 2023, Theodore Kittila submitted Rose Izzo s objection to the proposed
      settlement. Rose Izzo s wide-ranging submission included arguments that the Settlement’s
      release of claims was impermissibly broad because it encompasse[d] claims based on
      tangential facts and claims that could arise based on a future event, and that due process
      concerns required that the Class be afforded a right to opt-out of the Settlement.335


  737. The stockholder response might have been even more dramatic if the parties’ notice
      procedures had been robust. Notice was not mailed to approximately 1 million beneficial
      o ners, and was significantly delayed to another 1.5 million. The postcard contained a “non¬
      functioning URL that did not direct to the correct website.


  738. On May 31st, 2023, Daniel Meyer complied with Judge Zurn’s May 31st, 2023 written
      decision and served Munoz notice, along with copies of all briefing and court decisions related
      to the combined motion by counsel to withdraw its appearance on his behalf.


  739. On May 31st, 2023, Jordan Affholter submitted a letter expressing his intent to file
      exceptions to Corinne Amato’s report conceming his previous motions.336 On June 1st, 2023,
      Jordan Affholter submitted his exceptions to Corinne Amato’s report. 337 In the conclusion of
      this document, Jordan Affholter asserts that,


          “Special Master Amato provides very little evidence or judicial precedent in the
          report to support the recommended denial of Affholter’s motions. Special Master
          Amato provides no contrary evidence to challenge Affholter’s legal argument
          regarding the need for due process (14th amendment), Court of Chancery Rule 23,
          and the Court’s requirements for notice to deliver to class members such as
          Affholter by May 24, 2023. Instead, Special Master Amato appears to utilize an
          Orwellian method of dismissal by implying class members should reject the
          evidence of your eyes and ears. This Court cannot deny this class their
          constitutionally protected due process rights for the sake of expediency. The
          Delaware Court of Chancery Officials took an oath to uphold the US Constitution.


  334 DI 386, 387, 388, 389
  335 A public version of Izzo’s objection was submitted to the docket on May 31s1, 2023. DI 472
  336 DI 394
  337 DI 404
Case 4:23-cv-00732-ALM-KPJ Document 104-3 Filed 08/23/24 Page 28 of 75 PageID #:
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          The Court has to decide whether to protect the putative class members
          Constitutional rights for due process or blitz through these proceedings in order to
          provide a synthetic corporate stamp of approval on the proposed settlement. The
          Court has to decide whether it will keep its word on timeline requirements for
          notifying the settlement class or whether it will go back on its word. If so, then why
          are class members beholden to the original timeline but the Plaintiffs and
          Defendants are not? Further, does the Court want to re-enact Kahn v Sullivan? If
          the issues are not addressed now, the perceived legitimacy of the Court and its
          decision in the eyes of 3.8 million class members (and their families) are at risk and
          could result in a public perception that potentially millions of class members
          (including American and international citizens) due process rights were violated by
          the Court. To ensure that Affholter, as a putative class member (and possibly other
          class members), is granted due process rights to be fully informed before submitting
          his objection and support documentation, and for all of the reasons provided in the
          original motions and in this document, the Court should grant Affholter s Motion
          for Adjournment of the Settlement Hearing and Motion for an Affidavit Report,
          He ring, and Shareholder Data Audit (due to the Violation of the Putative Class
          Members' Due Process Rights). 338


  740. On June 1st, 2023, Etan Leibovitz filed his notice to submit exceptions to Corinne Amato s
      two reports regarding his May 1st, 2023 letter motion, Affidavit Request and his May 26th,
      2023 motion challenging the process Judge Zum elected to adopt with respect to effectuating
      notice to AMC stockholders via postcards. 339)340


  741. On June 2nd, 2023, Lead Counsel and AMC’s defense attorneys both submitted their
      opposition letters, coincidentally within 20 minutes of each other, in response to Jordan
      Affholter’s exceptions to Corinne Amato’s report.341 The AMC defendants were responsible
      for providing a complete stockholder list to Strategic Claims Services, while the Lead Counsel
      had the obligation to ensure that postcard notices were provided to the entire class. However,
      both parties failed in their responsibilities. Yet, they filed their opposition to Jordan Affholter’s
      motion, including his exceptions to Corinne Amato’s report, which aimed to extend the time
      for stockholders to be notified of the settlement hearing and to review the evidence that was
      concealed inappropriately and finally released to AMC stockholders on May 20th, 2023.



  338 DI 404
  339 DI 397
  340 Previous motion D.I. 343 stated Should this Court deny this motion, I reserve the right to file my
  objection subsequent to this Court’s decision should it be rendered after May 31st, 2023 and in addition
  file my in person settlement affirmation with this Court. At no point am I waiving my right to file my
  objection and my in person court appearance affirmation.
  341 DI 411 and DI 412
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                                    1786




  742. On June 2nd, 2023, Jordan Affholter file a motion, with the court in the consolidated action
      No. 2023-0215-MTZ, for equal protection under the law regarding access to confidential
      information and discovery. Jordan Affholter states,


           On Exhibit 1, page 8 of the Plaintiffs cited exhibits (an email from Mr. Van
          Zandt),[ AMC_0000050 , referenced in exhibits of the Plaintiffs Briefs] it clearly
          shows an alleged quid pro quo scheme between AMC, Citi, and Antara, where
          Antara was willing to put up a set amount of capital in order to allow AMC to rig
          the vote. Furthermore in that exhibit, it states that AMC would lift the restriction
          for Antara selling APE shares if the price went above 3 dollars, ensuring Antara
          would have a windfall of profit. In this alleged scheme, the AMC Board of
          Directors worked with Antara to trade based on confidential insider information
          and conditions that the putative class members did not have access to. Interestingly,
          Antara still regularly trades AMC related securities....In conclusion, I - as an
          objector and verified class member in this matter - submit this motion to move that
          the Court emphatically endorses its stance on prohibiting trading of AMC stock
          (and related assets) based on confidential insider information acquired during
          discovery so that it applies equally to all AMC common stock and related AMC
          asset holders. As such, all parties privy to confidential discovery, confidential
          insider information from AMC s Board of Directors, or those directly
          represented by such parties (inclusive of the AMC Defendants, AMC s Board
          of Directors, Allegheny, the Lead Plaintiffs, and Antara Capital), shall be
          barred from tradin (buying, selling, or vesting through compensation plans
          or other means) AMC common stock or related assets such as APE stock,
          AMC Performance Share Units (PSUs), APE PSUs, AMC Restricted Stock
          Units (RSUs), APE RSUs, or AMC derivatives (calls or puts) until the current
          Court case or any subsequent appeal is unequivocally resolved. Class members
          who do not have direct access to confidential discovery and confidential insider
          information would not be barred from trading during this time frame unless they
          signed the Revised Stipulation and [Proposed] Order for the Production and
          Exchange of Confidential and Highly Confidential Information ( confidentiality
          form ). 342


  743. On June 3rd, 2023, Alex Mathew submitted a letter addressed to Judge Zurn regarding
      Citadel and Citigroup s AMC Brazilian Depositary Receipts.343




  342 D.I. 405
  343 D.I. 413
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                                    1787



  744. On June 3rd, 2023, Alex Mathew filed a motion with the court in the consolidated action
         No. 2023-0215-MTZ for discovery of ACER S trading history and investigation. Alex Mathew
         states,


              I have noted significant discrepancies in the data provided by ACERS regarding
             their AMC investments across different quarterly reports. Furthermore, the sudden
             and drastic increase in hedge fund allocations by ACERS in 2022 following a
             consistent period of decline is of concern. Which also calls into question continued
             ownership of both APE and AMC shares. We respectfully request the Court to
             direct ACERS to disclose all relevant documents that may aid in resolving these
             inconsistencies. We believe this will not only uncover the truth but also promote
             the fair and equitable resolution of this matter.... Finally, we request the Court to
             investigate the connections between ACERS, Crestline Capital, and a number of
             short sellers of AMC Entertainment Holding. We believe that this is an essential
             aspect of the case that should be addressed by the Court. 344


  745. On June 6th, 2023, Corinne Amato submitted her report regarding Jordan Affholter s
         motion for equal protection under the law regarding access to confidential infon ation and
         discovery.345 Corinne Amato recommended denying the motion despite the concerns that
         stockholders were held to higher accountability than insiders.


  746. On June 7th, 2023, the AMC Defendants filed the defendants' reply brief in further support
         of the proposed settlement.346 The AMC Defendants reiterate that,


             "As established in Defendants’ Opening Brief, the Settlement is fair,
            reasonable, and adequate, and should be approved. Through the Settlement, class
             members stand to receive additional shares of AMC Common Stock that Plaintiffs
             value, based on recent market prices, at over $100,000,000. This consideration is
             especially significant given that Plaintiffs’ claims were likely to fail, in which case
             AMC’s stockholders would have received nothing. In exchange, AMC will be able
            to effectuate the Charter Proposals that were overwhelmingly approved in a March
             14, 2023 stockholder vote. AMC continues to need to raise significant equity
             capital for its business to survive, and effectuating the Charter Proposals will
            provide AMC with a non-discounted security that it can use to raise equity capital.
             If the Settlement is not approved, at best, AMC would be forced to continue
            selling the significantly discounted       and, thus, significantly dilutive     APEs
            to raise equity capital. At worst, AMC could be left without any security to raise


  344
        D.I. 416
  345
        D.I. 434
  346
        DI 441
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          equity capital, which would put it at significant risk of failing to meet its
          financial obligations beyond 2023, which would likely result in a bankruptcy
          or financial restructuring, and the total loss of the investments of holders of both
          Common Stock and APEs... A very vocal group of purported holders of Common
          Stock (collectively, the Objectors ) have inundated the Court, the Special
          Master, and the parties with purported objections to the Settlement
          (collectively, the “Objections ). Yet, the Objectors, in the aggregate, represent
          a very small portion of the putative class and, thus, stand in stark contrast to,
          and are far outnumbered by, the members of the putative class holding the
          over one hundred and twenty-eight million shares of Common Stock that
          were voted in favor of the Charter Proposal...Fourth, Objections based on
          beneficial holders of Common Stock allegedly failing to receive a post card
          notice are meritless. 347


  747. The defense counsel's reply brief for AMC lacked substantive analysis, projections, or
      supporting charts to justify the necessity of effectuating the chartered proposals to avert
      bankruptcy. Instead, they relied heavily on unsubstantiated assertions. Furthermore, the March
      14th, 2023 vote lacked proper validation by AMC stockholders, casting doubt on the claim that
      the chartered proposals were "overwhelmingly approved." Notably, AMC's own attorney uses
      the word "purported" to describe a vocal group of "purported" holders of Common stock who
      objected to the proposed settlement. Indeed, the use of "purported" by AMC's attomey to
      describe a vocal group of Common stock holders highlights that AMC does not have a clear
      understanding of the true composition of its shareholder base.



                                      Strategic Claims Services


  748. On June 7th, 2023, Paul Mulholland, President of Strategic Claims Services, a nationally
      recognized class action administration firm, executed his affidavit titled "Affidavit of Paul
      Mulholland Concerning Mailing of Post Card Notice." Adriane Kappauf, the defense attomey
      for AMC, subsequently filed the affidavit on the Chancery Court docket in the consolidated
      action No. 2023-0215-MTZ.


  749. Paul Mulholland s affidavit, spanning five pages, notably lacks any testimony regarding
      the following four aspects:




  347 DI 441
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               • Who hired Strategic Claims Services?348
               • Did Strategic Claims Services effectuate postcard notice on EVERY
                  AM Stockholder and if so what is the total number of AMC
                  Stockholders?
               • Why did Paul Mulholland fail to address and confirm if the postcard
                   notices were delivered by the court-ordered deadline of Ma 24th,
                   2023?
               • Why did Paul Mulholland fail to mention how many individual AMC
                   stockholders are in receipt of a postcard?349


  750. Paul Mulholland s affidavit, specifically averment number five, addresses Strategic Claims
      Services proprietary master list. Averment number five reads in part:


          SCS (Strategic Claims Services) maintains a proprietary master list consisting of
          851 banks and brokerage companies ( Nominee Account Holders ), as well as
          1,505 mutual funds, insurance companies, pension funds, and money managers
          ( Institutional Groups ), who are nominees of beneficial purchasers. On May 3,
          2023, SCS caused a letter to be mailed or emailed to the 2,356 nominees contained
          in the SCS master mailing list.


  751. Upon reviewing averment number five in Paul Mulholland’s affidavit, one major question
      remains unanswered: Is Strategic Claims Services’ proprietary master list all-inclusive,
      meaning does the proprietary master list incor orate every possible US and international
      institution, bank, and brokerage thus guaranteeing that every AMC stockholder would be
      effectuated notice with a postcard? The answer is simple: No.


  752. The postcard notice process that Judge Zum chose to adopt to effectuate notice on AMC
      stockholders was on its face defective. Not a single person can reasonably argue otherwise.


  753. Paul Mulholland’s affidavit reveals that notices for over 1.5 million “Names/Addresses
      who used Robinhood were sent on May 26th, 2023, just a few days before the objection and
      support document filing deadline of May 31st, 2023.




  348 The Affidavit of Josephine Bravata Concerning Mailing of Notice, in the CA No. 2019-0303-JTL
  Chancery Court Transaction ID 67949687, Averment #2 explicitly states that SCS was retained by
  Nominal Defendant AMC Entertainment Holdings, Inc.
  349 The conversion of the amount of postcard notices sent out (2.8 million postcards) to what it equates to
  as individual AMC stockholders.
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  ROBIN OOD                                   SENT 1,560,828 NAMES/ADDRESSES 5/22/2023   5/26/2023
  ROYAL SANK OF CANADA                        ONLY SEND IF THERE IS CFO      5 10/2023   NOT APPLICABLE
  SHAPIRO CAPITAL MANAGEMENT                  NO OLD RS                      5/11/2023   NOT APPLICABLE
  SOUT E STERN ASSET ANAGE ENT                NO OLDERS                      5 30/2023   NOT APPLICABLE




  754. On June 8th, 2023, Corinne Amato recommended that Judge Zurn deny Alex Mathew s
      motion for discovery of ACER S trading history and investigation and motion for issuance of
      stock certificate.350


  755. On June 8th, 2023, eight days after the objection deadline, Judge Zurn issued her written
      decision and denied Jordan Affholter's First and Second Exceptions. In her decision, Judge
      Zurn writes,


           The Special Master denied Mr. Affholter’s motion to intervene, and he did not
          take exception: he is a nonparty without standing to move this Court for relief....I
          repeat to Mr. Affholter what every other AMC stockholder who has contacted
          the Court has been told: he is free to submit his untimely objection, but there
          is no guarantee it will be considered. 351


  756. In her June 8th, 2023 decision, Judge Zurn disregarded valid due process conce s raised
      by Jordan Affholter regarding Lead Counsel and AMC’s defense attomeys concealing over
      one thousand pages of discovery documents until only eleven days before the objection
      submission deadline. Jordan Affholter warned that stockholders, including himself, did not
      have adequate time to review the documents. Judge Zurn incorrectly assumed that because
      Affholter assisted in drafting the AMC Community Objection Brief, he had sufficient time to
      thoroughly review the 1,500 pages of exhibits. Additionally, Judge Zurn overlooked the fact
      that the AMC Community Objection Brief template was shared with AMC stockholders on
      May 16th, 2023, and the 1,500 plus pages of exhibits were released a few days later on May
      20tl1, 2023, after many shareholders had already submitted their objections. Concerning the
      postcard notice, Judge Zurn states,


               The Court agrees with the May 30 Report’s conclusion that because Mr. Affholter
          clearly received timely electronic notice of the settlement, as evidenced by his
          numerous filings with this Court, his individual interest in having additional
          notice through a post card falls short of providing good cause, or any reason, to
          adjourn the settlement hearing. .




  350 DI 451
  351 DI 454
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  757. Judge Zurn and Corinne Amato demonstrate a logical fallacy. Individuals who write to the
      court have notice of the settlement hearing, but those who are unaware of the case or hearing
      cannot correspond with the court. If the Lead plaintiffs don t look out for the class, and active
      stockholders like Mr. Affholter don t notify the Court that the class was not notified, then there
      would be little chance for non-notified shareholders to be notified on time.


  758. After receiving Judge Zurn's June 8th, 2023 written decision, Jordan Affholter and Etan
      Leibovitz both submitted their own objections to the proposed settlement to Lead Counsel's
      email address within 24 hours. Despite being submitted after the May 31st , 2023 deadline,
      their objections were not accepted as timely. This was the case even though they both had
      pending motions and had notified the court that they were not waiving their right to file their
      objection should the court render a decision to their motions after the deadline.


  759. On June 8th, 2023, despite concerns about due process and incomplete notification of the
      class, Lead Counsel filed the Plaintiffs' Reply in Further Support of Settlement, Award of
      Attorneys' Fees and Expenses, and Incentive Awards. 352 In this document, Lead Counsel
      claims, The Settlement here would provide the Class with approximately 6.9 million shares
      of AMC Common Stock, valued by Lead Plaintiffs’ expert at $129,067,486.45 as of May 3,
      and at $114,091,860.88 as of June 6. It is one of the largest recoveries in Delaware class action
      history. A $20 million fee represents just 15.5% and 17.5%, respectively, well within the range
      of precedent." 353



  760. Lead Counsel claims that Plaintiffs achieved substantial financial benefits by negotiating
     approximately 6.9 million settlement shares. 354 However, they fail to acknowledge that these
     "new" shares were not genuinely “new . Following the reverse split and conversion, AMC
     shareholders would lose 90% of their AMC shares, with only a small percentage returned.
     These new shares did not represent new value, akin to a new business venture; rather, they
     amounted to further dilution. Additionally, Lead Counsel asserts that None of the
     Scattershot Objections to the Proposed Award Have Merit . This assertion would later
     be proven entirely false, highlighting both the lack of respect and economic awareness
     demonstrated by Lead Counsel towards AMC stockholders. Conceming the fee paid out to
     Franchi and ACER, Lead Counsel states,

               “Plaintiffs’ efforts in the case (and the negativity endured from some
               corners of the online community) justify modest service awards of $5,000,
               which will be paid exclusively from Class Counsel’s fee and will not
               diminish the consideration paid to the Class. 355


  352 DI 450
  353 DI 450
  354 DI 450
  355 DI 450
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     However, the $5,000 service awards to ACER and Franchi raises questions about how much
     ACER and Franchi actually lost, if any, on their AMC investment.



  761. In the Plaintiffs' Reply in Further Support of Settlement, Award of Atto eys' Fees and
     Expenses, and Incentive Awards, Lead Plaintiff stated,


          In total, approximately 3,500 timely submissions were received. Approximately
         2,850 individuals, representing about 0.00075% of AMC s estimated 3.8 million
         stockholders, submitted purported objections. Out of approximately 600 timely
         “nonobjections, about 375 were letters of support for the Settlement and 235
         advised only that the sender had not received postcard notice. Per the Notice,
         stockholders were required to provide their full name and information sufficient
         to prove ownership of Common Stock from August 3, 2022, through and including
         the date of submission. Of the approximately 2,850 purported objectors, almost
         half about 1,235 did not include any information regarding their holdings. Of
         objectors including some evidence of beneficial ownership (e.g., a brokerage
         account statement, a screen shot, or an authorized statement from a broker),
         the vast majority did not comply with applicable requirements.
         Nevertheless, Plaintiffs treated any apparent good-faith attempt include proof of
         ownership as sufficient to constitute an “objection, and in any event believe that
         this Reply addresses the substantive issues raised in all submissions, regardless of
         compliance.


  762. On June 8th, 2023, Lead Counsel Thomas Curry filed a letter with the court in the
     consolidated action No. 2023-0215-MTZ. Lead Counsel Thomas Curry give Judge Zum
     notice that,


         Yesterday evening, I filed: (i) Plaintiffs Reply in Further Support of Settlement,
         Award of Attorneys Fees and Expenses, and Incentive Awards; and (ii) a
         Transmittal Affidavit attaching Exhibits 1-26 thereto. As of yet, those filings have
         not been accepted onto the public docket by the Register in Chancery. Shortly after
         the filing, counsel for Objector Rose Izzo alerted me that my publicly-filed
         Transmittal Affidavit attached the nonpublic version of Ms. Izzo’s objection, which
         included Ms. Izzo’s phone number and address, as well as certain other information
         Ms. Izzo’s counsel had requested to be redacted. I committed to correcting the
         error. In reviewing the exhibits to the Transmittal Affidavit, we determined that
         another exhibit attaching correspon ence received from another stockholder also
         included a phone number and address. Accordingly, I immediately took steps to
         prevent the uncorrected version of my Transmittal Affidavit from reaching the
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        public docket including by leaving a voicemail and email for the Register in
        Chancery, asking that the filing be rejected from the docket so that I may file a
        corrected version in its stead. Shortly after contacting the Register in Chancery, I
        also sent the email reproduced below to the six individuals who have registered for
        pro se File&Serve accounts in this action and were served with Plaintiffs Reply,
        in the hope of preventing widespread dissemination of the mistakenly filed exhibits:


            Subject: AMC Delaware Litigation

            Body:

            All,

            As registered SRI filers in the AMC stockholder litigation, each of you
            were served earlier this evening with a copy of Plaintiffs' reply brief in
            support of the proposed settlement. Though you were served with the brief
            and supporting documents, those documents are not yet on the public
            docket.


            It has come to my attention that the filed version of the exhibits to my
            Transmittal Affidavit included information that was not intended to be
            filed publicly, including personal identifying information. We intend to
            work with the Court to ensure that such exhibit(s) are not docketed
            publicly before being appropriately replaced. In the meantime, I ask that
            you not disseminate any of the exhibits to my Transmittal Affidavit on
            social media or otherwise. I believe that doing so would be contrary to the
            wishes of the Court. If you have questions, feel free to contact me on my
            cell: (302) 4388706.

                                              Thomas Curry SAXENA WHITE P.A.

        Regrettably, rather than contacting me with any questions, certain of the recipients
        appear to have jumped to mistaken conclusions about the issue. Specifically, one
        of the recipients of my email Mr. A. Mathew immediately published a YouTube
        video titled URGENT: AMC Data Breach, featuring my email, in which he
        suggests that my email reflects some type of widespread hack or other “breach
        of personal identifying information pertaining to objecting/supporting stockholders
        generally. In the video, which received well over 1,000 views promptly upon its
        posting, he also urges his viewers to call the Court for additional information.
        Mr. Mathew then filed a letter with the Court concerning this purported “breach,”
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                                    1794



          which was followed minutes later by a similar communication from Mr. Affholter.
          We have taken extensive measures to protect personal information of Class
          members while processing a staggering amount of information on a tight timeline.
          We sincerely regret the public filing of information that should have been sealed or
          redacted. I remain hopeful that I will be able to work with the Register in Chancery
          to prevent the information in question from reaching the public docket. In response
          to Mr. Mathew s and Mr. Affholter s filings, however, I write to confinn that there
          has been no widespread breach of stockholders personal identifying information.
          My filing mistake pertains to only two stockholders and, at least as of yet, has not
          been published on the public docket. I am, as always, available at the call of the
          Court should Your Honor have any questions concerning this matter.


                                                                Respectfully,
                                                                /s/ Thomas Curry



  763. On June 9th, 2023 both Jordan Affholter and Etan Leibovitz submitted their own
      affirmation stating that they filed a complaint written objection to the Plaintiffs’ counsel via
      email, to AMCSettlementObjections@blbglaw.com, which states the basis for their objections
      and that they will attend the June 29th and 30th, 2023 settlement hearing with the purpose of
      ensuring that their voices are heard.356


  764. On June 13th, 2023, two investors, Dennis J. Donoghue and Mark Rubenstein, filed suit
      against Antara over short-swing APE profits. The action was filed in the Southern District
      Court of New York under the caption, Donoghue et al v. Antara Capital Master Fund LP et al,
      case number 23-cv-04985, before District Court Judge Jennifer H Rearden. 357


  765. On June 13th, 2023, Theodore Kittila filed a nine page motion, on behalf of his client Rose
      Izzo, to supplement the record in the consolidated action No. 2023-0215-MTZ.358 Rose Izzo’s
      motion moved to permitting the supplementation of the record to include:


         (a) documents responsive to allegations and facts raised for the first time in
         Plaintiffs’ Reply Brief in Further Support of Settlement, Award of Attorneys’ Fees
         and Expenses, and Incentive Awards and
         (b) documents cited in Rose Izzo’s objection that could not be attached because the
         Parties did not pennit objectors to download. Rose Izzo stated: Plaintiffs
         baselessly accuse Ms. Izzo of having “opaque competing interests with the


  356 DI 468 DI 469 and DI 492
  357 Docket Link: https://dockets.justia.eom/docket/new-yorlCnysdce/l:2023cv04985/600362
  358 DI 485
Case 4:23-cv-00732-ALM-KPJ Document 104-3 Filed 08/23/24 Page 38 of 75 PageID #:
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         Class because she owns slightly more Preferred units (APEs) than Common
         stock.


  766. At the time, Rose Izzo owned 3,106 AMC shares and 4,244 APE shares. Exhibit B contains
     an analysis that illustrates how the settlement would impact Rose Izzo, ACER, and Franchi.


  767. Only ACER and Franchi would benefit from the lead plaintiff incentive award of $5,000.


  768. Rose Izzo reported in Exhibit B that ACER owned only 879 AMC shares (and 879 APE
      shares), while Franchi reported owning only 32 AMC shares.


  769. Until this point, and subsequent filings bringing attention to this fact, ACER and Franchi's
      ownership was concealed from the putative class members they claimed to represent.359


  770. In this motion, Rose Izzo also states,


          "Exhibits C and D relate to Kevin Barnes, a purported AMC stockholder whose
          letter Plaintiffs rely upon in support of the settlement. Although dated May 30th,
          2023, Kevin Ba es letter was not disclosed to potential objectors, leaving them
          with no opportunity to respond. Had Rose Izzo had knowledge of Mr. Ba es
          letter, the Izzo Objection would have included Exhibits C and D. Exhibit C is a
          letter, publicly available on the website of the U.S. Securities and Exchange
          Commission, demonstrating that Kevin Bames is the manager of K-Bar Holdings,
          LLC. Exhibit D is an order and final judgment from this Court, dated October 13,
          2020, approving a motion by Bernstein Litowitz Berger & Grossman LLP, one of
          Plaintiffs’ counsel here, to award K-Bar Holdings LLC $25,000 as a plaintiffs’
          incentive. 360


  771. On June 14th, 2023, Jordan Affholter submitted a letter notifying the court that AMC had
       allegedly been selling over 200 million of unregistered AMC Preferred Equity Units in 2020,
      2021, and 2022 before they had registered that security (later called APE) with the SEC. Page
      206 of the previously concealed cited exhibits from the defendants brief (which release was
      delayed), clearly displays the sale of these securities. [D.I. 201 page 206 Link:
      https://s25.q4cdn.com/472643608/files/doc_downloads/shareholder¬


  359 DI 485 Exhibits. Link:
  https://www.docketalami.com/cases/Delaware_State_Court_of_Chanceiy/2023-
  0215/IN_RE_AMC_ENTERTAINMENT_HOLDINGS_INC._STOCKHOLDER_LITIGATION/919369
  17/91936918/
  360 DI 485
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      meeting/2023/05/defendants-affidavit-and-exhibits-filed-iso-settlement.pdf However, AMC
      preferred equity units were not registered with the SEC until August 4, 2022. 361 This
      document also included a table of mathematical analysis revealing discrepancies in the
      calculations of uwegistered APE shares, indicating a need for further investigation to ascertain
      whether fraud occurred. However, due to the delayed release of over 1,500 pages of exhibits,
      this critical information was not discovered until after the deadline. Subsequently, the AMC
      Defendants claimed that the discrepancy resulted from updating documentation post APE, but
      the math still did not add up.

  772. On June 14th, 2023, Judge Zum published her order establishing the settlement hearing
      protocol for June 29th-30th, 2023, on the court docket in the consolidated action No. 2023-
      0215-MTZ. 362


  773. On June 15th, 2023, Judge Zum granted Rose Izzo's motion to supplement the record.363


  774. Subsequently, Theodore Kittila filed his supplemental transmittal affidavit, in further
      support of Rose Izzo's Objection to the Proposed Settlement, Award of Attorneys' Fees and
      Expenses, and Incentive Award, on the consolidated action No. 2023-0215-MTZ docket.


  775. Theodore Kittila s affidavit incorporates exhibits N to U, sourced from the confidential
      discovery database. Exhibit N is the Antara February 11th, 2023 email titled "AMC Debt
      Capacity" from Benjamin Chuchla, an investment analyst at Antara, to Himanshu Gulati.
      Exhibits O to U mostly contain redacted brokerage statements showing the ACER, Franchi,
      and Munoz AMC ownership. Further information regarding the plaintiffs' ownership of AMC
      would later be revealed.


  776. On June 16th, 2023, Lead Counsel Michael Barry submitted the Second Revised
      Transmittal Affidavit of Michael J. Barry providing logs of stockholder communications, in
      response to errors identified in the first version.364


  777. On June 16th, 2023, Theodore Kittila published a letter, on the consolidated action No.
      2023-0215-MTZ docket, giving Judge Zum notice of the following:




  361 DI 486
  362 DI 488
  363 DI 495
  364 DI 499
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                                    1797



           I write on behalf of Objector Rose Izzo ( Ms. Izzo ) in response to Plaintiffs letter
          concerning Mr. Usbaldo Munoz, dated today, June 16, 2023 (D.I. 498). Plaintiffs
          letter omits two key facts:


               (a) far from being discouraged by a conspiratorial online mob (D.I. 366
                 16), Mr. Munoz sought to speak with my co-counsel, Anthony Rickey,
               Esq., over a week ago and
               (b) Plaintiffs’ counsel have been in contact with Mr. Munoz for over a
               week. See Ex. A.


                  As required by our ethics rules, Mr. Rickey declined to talk to Mr. Munoz
          until he could determine whether Mr. Munoz was still represented a matter that
          Plaintiffs’ counsel waited for nine days to address. Id. Plaintiffs’ counsel contend
          that this is irrelevant. Id. We disagree. To the extent Ms. Izzo’s opposition (D.I.
          357, 362) to Plaintiffs’ counsel’s motion is preventing Mr. Munoz from
          withdrawing from this case and seeking other counsel, Ms. Izzo withdraws her
          opposition to the Motion, which is now unopposed. I am available at the Court’s
          convenience if Your Honor has any questions. 365


  778. On June 16th, 2023, Jordan Affholter wrote a letter to give Judge Zurn notice


            “... that the Allegheny Ownership Screenshot referenced by Mr. Kittila in his
            affidavit (submitted on June 15, 2023) appears to show APE ownership and
           NOT AMC ownership. 366 “The CUSIP number referenced in this screenshot is
           the CUSIP number for APE (00165C203) not AMC (00165 04)....Walter
            Szymanski, Executive Director of Allegheny County Employees Retirement
            System, previously signed two affidavits saying Allegheny owned AMC stock
           since 2015. However, no verification was provided. The first affidavit was
           signed on February 20, 2023....A second affidavit was signed on May 4, 2023
           but only AMC was mentioned and APE was conspicuously omitted. 367


  779. As of June 16th, 2023, AMC stockholders had not seen proof that ACER owned AMC
      shares. Also of note, the partially redacted screenshots did not list ACER’S name on them, but
      instead another entity - CIM Investment Management. Furthermore, the affidavits submitted
      by ACER did not list any relationship with CIM Investment Management.

  365 DI 500
  366 DI 504 referencing the original screenshot included in D.I. 496, Transaction ID: 70208052 - Exhibits
  N to U to Supplemental Transmittal Affidavit of Theodore A. Kittila Containing Documents from the
  Confidential Discovery Database in Further Support of Rose Izzo's Objection to the Proposed Settlement,
  Award of Attorneys' Fees and Expenses, and Incentive Award. Filed on June 15, 2023.
  367 DI 504
Case 4:23-cv-00732-ALM-KPJ Document 104-3 Filed 08/23/24 Page 41 of 75 PageID #:
                                    1798




  780. On June 20th, 2023, Kathrine J. Sullivan entered her appearance on the court docket, in the
     consolidated action No. 2023-0215-MTZ, on behalf of her client, interested party and potential
     objector.,Anthony Kramer. 368 Katherine Sullivan made an application via joinder of Rose
     Izzo's objection to the proposed settlement, award of attorneys' fees and expenses, and
     incentive awards. In her application, Katherine Sullivan states in part:


          Mr. Kramer informs the Court that he was not on notice of the Proposed Settlement
         until June 2, 2023 nine days past the May 24,2023 deadline by which the Court
         ordered Defendants to deliver postcard notices, and two days after the May 31,
         2023 deadline by which class members were to submit their objections. To date,
         Mr. Kramer has not yet received a postcard notice in the mail. Worse, the mailing
         agent s affidavit fails to confirm that the postcard notices were delivered by the
         Court-ordered deadline of May 24, 2023. Specifically, the affidavit opaquely states
         that [pjrior to May 31, 2023, [the mailing agent] and nominees for beneficial
         holders of AMC Common stock mailed or emailed approximately 2.8 million post
         card notices to beneficial holders of AMC Common Stock, and is silent as to the
         critical issue of whether postcard notices were delivered by May 24, 2023. 369


  781. On June 20th, 2023, Judge Zum granted Lead Counsel's motion and withdrew Munoz as a
      lead plaintiff. However, Judge Zurn did not exercise her judicial powers to conduct a hearing
     to investigate potential fraud against the court or to inquire into any misrepresentations made
     by Lead Counsel.


  782. On June 20th, 2023, Judge Zurn issued a nine-page letter addressed to the party attorneys
      ahead of the settlement hearing. In the letter, Judge Zurn posed several questions for the parties'
      counsel, providing them with an opportunity to respond in writing before the hearing, rather
      than afteiward. Judge Zum set June 23rd, 2023 as the deadline to respond. Judge Zurn s
      questions with respect to Franchi are:

         i. Has Mr. Franchi owned AMC common stock continuously from the wrongs
               alleged by the plaintiffs through the present? Or did his ownership begin on
               November 8th, 2022?
        ii. If the latter, does Mr. Franchi have standing to bring claims based on wrongs
               that predated his stock ownership?
        iii. If the answer to (ii) is no, how does that lack of standing to press at least
               one of the claims before the Court inform Mr. Franchi s ability to serve as



  368 DI 505
  369 DI 506
Case 4:23-cv-00732-ALM-KPJ Document 104-3 Filed 08/23/24 Page 42 of 75 PageID #:
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                 class representative, his personal interest in pursuing claims he has no
                 standing to bring, and the typicality of his claims vis a vis the class?
        iv. Is the Settlement Class limited to AMC common stockholders that
                 continuously held AMC common stock the entire time from August 3rd, 2022,
                 through and including the Settlement Class Time? Or does it also include
                 AMC common stockholders that held AMC common stock at any time
                 between August 3rd, 2022, through and including the Settlement Class Time?
         v. Does the Settlement Class include Mr. Franchi?
        vi. If the Settlement Class includes Mr. Franchi and others who bought stock
                 after August 3rd, 2022, please address the commonality requirement and the
                 standing of class members to bring both claims pending before the Court.
       vii. If the Settlement Class does not include Mr. Franchi, how can he serve as a
                 class representative?


  783. Judge Zurn concludes her nine page letter with her one question for ACER:


        i. Has ACER continuously owned AMC common stock continuously from the
                wrong it alleged through the present?


  784. On June 21st, 2023, Michael Barry submitted the Third Revised Transmittal Affidavit of
      Michael J. Barry Providing Log of Stockholder Communications. This revision was necessary
      as the second version still contained errors that needed correction. 370


  785. On June 21st, 2023, Corinne Amato issued her report regarding objections to the settlement.
      In her report, Corinne Amato concluded that the settlement consideration was a valuable "get"
      that would benefit the Class. She recommended that the Court of Chancery deny all objections
      to the settlement, including those raised by Rose Izzo.


  786. On June 21st, 2023, ACER filed their response to Judge Zurn s June 20th, 2023 nine page
      letter. In this document, ACER stated,


               Allegheny can confirm that it has continuously held AMC common stock
          (CUSIP: 00165C104) from December 2015 through the present. Documentation
          reflecting that fact is submitted herewith as set forth below. 371


  787. In the submission, ACER included three exhibits. The first exhibit features a screenshot
      from BNY Mellon, indicating that CIM Investment Management, not ACER, owned 879 AMC
      shares as of November 30th, 2021. The second exhibit displayed a screenshot from BNY


  370 DI 509
  371 DI 521
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      Mellon showing 879 AMC shares and 879 APE shares owned by CIM Investment
      Management, also not ACER, on June 19th, 2023. The third exhibit was an unconfirmed Excel
      screenshot listing ACER S trading history of AMC and identifying CIM Investment
      Management as the manager. This relationship was neither confirmed nor disclosed to
      stockholders. As of the submission, ownership of the 879 AMC shares remained unconfirmed.


  788. On June 21st, 2023, Jordan Affholter s June 21st, 2023 letter, addressed to Judge Zurn, was
      filed with the court in the consolidated action No. 2023-0215-MTZ. His letter reads in part,


               It has been brought to my attention that there is a Director of Operations at Antara
          Capital named Frank Amato.[ https://www.linkedin.com/in/frank-amato-71126918
          , https://brokercheck.fmra.org/individual/summary/5017918 ] Frank Amato shares
          the same last name as the Special Master Corinne Elise Amato. Further, Antara
          Capital is based in the Northeast (specifically New York), not far from where the
          Special Master works in Pennsylvania and Delaware. ..I honestly ask the Court does
          Special Master Corinne Elise Amato know Frank Amato (from Antara) or is the
          Special Master associated with Frank Amato or Antara in any way?...If the Special
          Master Corinne Elise Amato is any way associated with Frank Amato from Antara
          Capital, or any undisclosed affiliations that could impact her objectivity, it would
          constitute a clear breach of her role as the Special Master. This needs to be clarified
          and the burden of proof lies on the Special Master.... 372


  789. On June 22nd, 2023 a supplemental affidavit was filed with the court in the consolidated
      action No. 2023-0215-MTZ, coming from Quality Assurance Manager Josephine Bravata
      ( Ms. Bravata ) at Strategic Claims Services.373


  790. Ms. Bravata updates Judge Zurn stating that,


                 As of June 22, 2023 SCS and nominees for beneficial holders of AMC
                common stock mailed or emailed approximately three million post card
                notices to beneficial holders of AMC common stock.


  791. Of note, the reported 3 million postcard notices are still significantly fewer than the
      representation John Neuwirth made during the April 25th, 2023 telephonic conference call,
      stating that there are approximately 3.8 million AMC stockholders.


  792. Exhibit D to the Mulholland Affidavit shows that Apex only sent out 43 notices in Ma



  372 DI 522
  373 DI 531
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  2023.374


                        BROKER                                                   ACTION                  RESPONSE RECEIVED                 SE T
  ABBEY CAPITAL                                                      NO HOLD RS                        5/11/2023                  NOT APPLICABLE
  ANB BANK                                                           BROAORIDGE WILL FILE FOR          5/10/2023                  NOT APPLICABLE
  APEX CLEARING                                                      SENT 43 NAMES/ADDRESSES           5/12/2023                  5/17/2023
  ARIEL INVESTMENTS                                                  NO HOLDERS                        5/18/2023                  NOT APPLICABLE
  AXOS CLEARI G                                                      SENT 362 NAMES/ADDRESSES          5/4/2023                   5/17/2023
  BANCWEST INVESTMENT SERVIC S                                       SENT 109 NAMES/ADDRESSES          5/11/2023                  5/17/2023
  BROADRIDGE: ORGAN STANLEY W , WEDBUSH SECURITIES
  0TS, WEDBUSH SECURITIES 103, WELLS FARGO CLEARING,
  CHARLES SCHWAB, TD AMERITRADE, U.S. BANCORP, STIFEL,
  D.A.DAVIDSON, EDWARD JONES, ETRADE, R.W.BAIRD,
  RAYMOND JA ES, NATIONAL FINANCIAL S RVICES, LPL
  FINANCIAL, VANGUARD, A ERIPRISE, SCOTIABANK, BANQUE
  SCOTIA, VISION FINANCIAL, TRADESTATION, MURIEL SIEBERT &
  CO, BNP PARIBAS, & MERRILL LYNCH                                   REQUEST 1,183,555 POSTCARDS       5/17/2023                  5/18/2023




  793. However, Exhibit A to the Ms. Bravata affidavit clearly indicates that on behalf of Apex,
       Strategic Claims Services sent out an additional 240,000 notices on June 9th and June 12th,
       2023, which is respectively 9 and 12 days after the May 31st, 2023 objection and support
       deadline.


                           BROKER                                         ACTION                   RESPONSE RECEIVED                            SE T
   ABBEY CAPITAL                                           NO HOLDERS                      5/11/2023                           NOT APPLICABLE
   ANB BANK                                                BROADRIDGE WILL FILE FOR        5/10 2023                           NOT APPLICABLE
   APEX CLEARING                                           SENT 240,217 NA ES/ADDRESSES    5/12/2023,6/5/2023, AND 6/12/2023   5/17/2023,6/9/2023, AND 6/12/2023
   ARIEL INVESTMENTS                                       NO HOLDERS                      5/18/2023                           NOT APPLIC BLE
   AXOS CLEARING                                           SENT 362 NAMES/ADDRESSES        5/4/2023                            5/17/2023
   BANCWEST INVESTMENT SERVICES                            SENT 109 NAMES/ADDRESSES        5/11/2023                           5/17/2023

   BROAORIDGE: MORGAN STANLEY WM, WEDBUSH SECURITIES
   OTS, WEDBUSH SECURITIES 103, WELLS FARGO CLEARING,
   CHARLES SCH AB, TD A ERITRADE, U.S. BANCORP, STIFEL,
   D.A.DAVIDSON, EDWARD JONES, ETRADE, R.W.BAIRD,
   R YMO D JA ES, NATIONAL FINANCIAL SERVICES, LPL
   FINANCIAL, VANGUARD, AMERIPRISE, SCOTIABANK, BANQUE
   SCOTIA, VISION FINANCIAL, TRADESTATION, MURIEL SIEBERT &
   CO, BNP PARIBAS, & MERRILL LYNC                          REQUEST 1,183,555 POSTCARDS    5/17/2023                           5/18/2023




  794. Over half of the postcard notices were not sent until May 26th, 2023, the day before
      Memorial Day weekend. This left AMC stockholders with, at best, one or two business days
      to evaluate the settlement, potentially find counsel, and file a timely objection.




  374 DI 442
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  795. On April 28th, 2023, Judge Zum stated that the settlement schedule,

                 depends upon prompt initiation of postcard notice, and will only
                work if postcards will generally be delivered by May 24th, 2023.

     However, based on Mr. Mulholland s affidavit and Ms. Bravata s affidavit, it's clear that AMC
     stockholders' 14th Amendment Right to the United States Constitution - Due Process Clause,
     Chancery Rule 23, and Judge Zum s own instructions were not met for at least 1 million AMC
     stockholders who did not receive notice before May 24, 2023. Despite this evidence, Judge
     Zum somehow found the notice acceptable anyway, without even making any inquiry for an
     explanation.




  796. The affidavits of Mr. Mulholland and Ms. Bravata, particularly in Exhibit D, reveal
     significant omissions regarding postcard notification. Exhibit D illustrates which brokers sent
     delivery, raising questions about the potential absence of major brokers like Fidelity and
     Interactive Brokers, as well as other retail-friendly apps like Cash App and Moo Moo
     (Futu Clearing). The lack of international brokers on this list also raises concerns about
     whether Strategic Claims Services attempted to contact international AMC stockholders.
     Additionally, while Robinhood shows that they notified over 1.5 million AMC stockholders,
     it's unclear why the postcard notifications were sent out so late, on May 26th, 2023.
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                                      1803



                           BROKER                                       ACTION                 RESPONSE RECEI ED             SE T
ABBEY CAPITAL                                              NO HOLDERS                        5/11/2023              OT APPLICABLE
  MB B NK                                                  BROAD RIDGE ILL PILE FOR          5 10/2023             NO PPLICABLE
  PEX CLEARING                                             SENT43 AMES/ ODRESSES             5/1 / 023             5/17 20
ARIEL INVESTMENTS                                          NO HOLDERS                        S/18 20Z3              OT APPLIC BLE
AXOS CLEARING                                              SE T 362 N ES/ADDRESSES           5/4/2023              5/1.7/202
BANCWEST INV STMENT SERVICES                               SENT 109 NAMES/ADDRESSES          5/11/2023             5/17/2023
BROAD RIDGE: O G N ST NLEY WM, WEDBUSH SECURITIES
OT WEDBLJS SECURITIES 103,. WELLS FARGO CLEARING,
CHARLES SCHWAB,. TD AMERITRADE, U.S. BANCORP, STIFEL,
O.A.OAVIDSON. EDWARD JONES, ETRAOE, R.W.BAI D,
   Y OND JAMES, NATIONAL FIN CIAL SE VICES, LPL
FI ANCIAL, ANGUA D, AMERIPRlSE, SCOTIABANK, BA QUE
SCOTIA, VISION FIN NCIAL, TRADESTATION, MURIEL SIEBERT &
CO. BNP PARIB S, & MERRILL LY CH                           REQUEST 1,183,555 POSTC RDS       S 17 2OZ3             5/1B/2O2
CETE IN ESTMENT SERVI ES LLC                               SE T 138 NA ES/ADDRESSES          5/9/2023              5/23/202
CITI 27                                                    SENT 2 0 NA ES/ADDRESSES          5 22/2023             5/23 202
CITI 418                                                   SE T1 NAME DDRESS                 5/22/202              5/23/2023
CREW & SSOCIATES                                           SE T 1 NAME/ADDRESS               5 16 2023             5/23 202
DAI A CAPITAL MARKETS AMERICA I C                          SENT 5 NAMES ADDRESSES            5/5/2023              5/17/202
GARDNER LEWIS ASSET M GE ENT                               NO HOLDERS                        5/9/2023               OT PPLIC BLE
GUARDIA                                                    SENT 30 NAM S/ADDRESSES           5/22 2023             5/23/2023
HILLTO SECURITIES INC                                      SENT 41 N MES ODRESSES            5/4/2023              5/17/2023
HSBC B NK USA                                              SENT 95 N MES/ ODRESSES           5/3/2023              5/17/2023
ITAU DBA US SECU ITIES INC                                 PERSHING ILL SUB IT OR            5/12/2023              OT PPLIC BLE
JEFFERIES LLC                                              SENT352 NA ES/ DDRESSES           5/4/2023              5/17/2023
KESSLER TOP Z MELTZER & CHECK LP                           NO HOLDERS                        5/11/2023              OT PPLIC BLE
   CKIE RESE RCH C PIT L                                   SENT 12 AMES ADD ESSES            5/3/2023              5/17/2023
   NULIFE SE URITIES                                       SE T 5 THEMSELVES                 5/10/2023              O PPLI ABLE
MD MAN GEMENT LIMITED                                      SE T THE SELVES                   5/5/2023               O PPLICABLE
MUNI IPAL CAPITAL MARKETS GROUP INC                        NO HOLDERS                        5/11/2023              OT APPLI ABLE
OPPENHEIMER & O INC                                        SENT 140 NA ES/ADDRESSES          5/18/2023             5/23/2023
ORION                                                      SENT 91 AMES/ ODRESSES            5/12/2023             5/17/202
PERSHING LLC                                               SENT 8800 N ES/ADDRESSES          5/4/2023              5/17/2023
PIPER JAFFR Y                                              SE T 49 NAMES/ADDRESSES           5/10/2023             5/17/2023
ROBINHOOD                                                  SENT 1,560,828- NAMES/A DRESSES   5/22/2023             5/26/2023
ROY L BAN OF CANA                                          ONLY SEND IF THERE IS CFD         5/10/2023              OT PPLIC B E
SHAPIRO CAPITAL ANAGEMENT                                  NO HOL ERS                        5/11/2023              OT APPLICABLE
SOUT E STER SSET NAGE E T                                  NO HOLDERS                        5/30/2023              OT APPLICABLE
STONE FIN NCI L INC                                        SENT31 AMES ADD ESSES             5/3/202               5/17/202
SUMMIT GLOB L INVESTME TS                                  NO HOLDERS                        5/11/2023              OT APPLIC BLE
THE INL ND REAL ESTATE GROUP LLC                            O HOLDERS                        5/30/2023              OT APPLICABLE
T UIST WEALTH                                              SENT32   ES/ ODRESSES             5 9/2 23              5/17/2023
UBS                                                        SENT 923 N MES/ADDRESSES          5/11/2023             5/17/2023
W.D. LATIMER CO LI ITED                                    SENT 1 N ME ADDRE S               5 9/2023              5/17/2023
ZURICH NO TH AMERICA                                       NO HOLDERS                        5/11/2023              O A PLI BLE




      797. Not a single atto ey, from either party, Lead Counsel or AMC s defense team, filed a

           motion with Judge Zum to bring this constitutional violation regarding postcard notice to her

           attention. If Lead Counsel had properly represented the Class, they would have raised this

           violation to the Court s and the Class attention. Additionally, if the AMC Board had genuinely

           cared about their retail investors, they would have taken action. However, they refrained from

           doing so to avoid exposing the Project Popcorn scheme, which could reveal the true number

           of stockholders and shares in circulation.



      798. On June 23rd, 2023, Judge Zurn responded to Jordan Affholter's letter, declining to entertain

           his inquiry regarding any potential conflict of interest involving Corinne Amato and Frank

           Amato. Additionally, no affidavit was submitted by Corinne Amato on this challenge.
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                                    1804



  799. On June 23rd, 2023, Jordan Affholter filed his letter 375 with the court, in the consolidated

      action No. 2023-0215-MTZ, addressing Judge Zum s June 20th, 2023 letter that presented

      questions for the parties counsel in advance of the settlement hearing, specifically:


               Has Allegheny continuously owned AMC common stock continuously
               from the wrong it alleged through the present?


      Jordan Affholter's letter informed Judge Zurn that ACER had failed to demonstrate that they

      held AMC common shares throughout the relevant period, spanning from August 3rd, 2022,

      until June 23rd, 2023.



  800. Throughout late June 2023, several AMC stockholders submitted exceptions to Corinne

      Amato s June 21s1, 2023 Report and Recommendations, regarding objections to the proposed
      settlement.376



  801. On June 27th, 2023, Etan Leibovitz filed his 13-page letter with the court in the consolidated

      action No. 2023-0215-MTZ. The letter exposes Strategic Claims Services, Paul Mulholland's

      and Josephine Bravata's affidavits, Mr. Neuwirth’s 3.8 million stockholder representation, and

      Corinne Amato's June 21st, 2023 Report and Recommendation. Etan Leibovitz concludes his

      letter by presenting Judge Zurn with several questions she should consider at the Settlement

      Hearing:


          • Would the results of the March 14th, 2023 Vote have been the same if I, Judge
              Zurn, would have released the operating complaint unredacted and other
              discovery documents prior to the vote and allowed the AMC shareholders to
              read said documents in advance of vote?
          • If Jordan Affholter, Alex Mathew, Frank Maribito and Etan Leibovitz never
              filed their discovery and omnibus motions, when was Lead Counsel as well as
              the attorneys representing the AMC Defendants planning to comply with
              paragraph 72 of the Notice of Pendency of Stockholder class action and
              proposed settlement, settlement hearing, and right to appear?
          • Did every AMC Stockholder receive a postcard notice, if so how many AMC
              stockholders are there?

  375 DI 538
  376 DI 533, 543, 546, 547, 553, 556, 558, 559, 560, 565
Case 4:23-cv-00732-ALM-KPJ Document 104-3 Filed 08/23/24 Page 48 of 75 PageID #:
                                    1805



          • If I, Judge Zum, move forward with the Settlement without giving all the
               putative class members notice and time to object or support, would I be
               violating their 14th Amendment Right?


  802. On June 28th, 2023, Jordan Affholter filed his June 22nd, 2023 letter with the court in the

      consolidated action No. 2023-0215-MTZ, providing Judge Zum with notice that the

      screenshots reported by ACER show that CIM Investment Management owned AMC and APE
      shares, not ACER.377



  803. On June 29th, 2023, Corinne Amato filed a report on the list of stockholder objections that

      showed that Lead Counsel had misclassified dozens of stockholders.378




                               June 29tl> - 30th, 2023 Settlement Hearing



  804. On June 29th and 30th, 2023, Judge Zu held the settlement hearing. Rose Izzo was

      allocated meaningful time to address the court and advance her objections.



  805. Three individuals AMC Retail Shareholders (not represented by counsel) spoke in person
      at the settlement hearing on June 29-30, 2023 and they spoke a ainst the proposed settlement.!

      Additionally, Atto ey Kittila and Atto ey Rickey spoke on behalf of AMC Shareholder Rose
      Izzo at the settlement hearing and they spoke against the proposed settlement. Atto eys Kittil

      and Rickey critiqued Allegheny and Franchi for not being appropriate class representatives

      and that Izzo would be a more representative plaintiff for AMC shareholders.



  806. The scheduling order listing which shareholders (of the many submissions, approximately
      23 were selected) was filed on the court docket on June 23,2023 (one week before the hearing)




  377 DI 562
  378 DI 567
Case 4:23-cv-00732-ALM-KPJ Document 104-3 Filed 08/23/24 Page 49 of 75 PageID #:
                                    1806



        and many shareholders reported receiving letters in the mail only 1 -3 days before the hearing,

        so many could not attend and make travel arrangements (time off court, drive, flight, and/or

        hotel arrangements) on such short notice.



  807. During the Settlement Hearing Judge Zum asked Lead Counsel to identify which discovery

        document convinced them that AMC was facing imminent bankruptcy, - they did not and

        could not.



  808. Lead Counsel, Franchi, and ACER assured Judge Zurn that warnings of oncoming harm

        resulting from settlement were wild speculation. Plaintiffs were wrong.



  809. On July 3rd, 2023, Citigroup's analyst Jason Bazinet issued a sell rating on AMC with a
        (maintained) price target of $1.65.


  810. On July 12th, 2023, Justin Rodriguez, Assistant United States Attorney for the Southern
        District of New York, filed his 13-page sentencing memorandum in United States of America
        vs Sakoya Blackwood, docket number 22 Cr. 460 JMF.379




                     The July 21, 2023 Opinion - Judge Zurn Denies the Settlement

  811. On July 21st, 2023, at approximately 4:08 pm EST, Judge Zum denied the proposed
        settlement. Zum's 69-page opinion380, rejected the Settlement as initially proposed on the
        ground that it provided that members of the proposed Settlement class would release claims
        arising out of the action that they might have as a result of their ownership of APEs. Zu 's
        opinion did call out the APE issuance for being a blank check for issuing more shares, the
        mirrored voting by Computershare, and the lack of common share support (less than 50% of
        authorized common shares voted in favor) for the March 14th , 2023 reverse splits and APE to
        AMC conversion proposals.381
        DI 581
        Discuss - how Judge Zum says she cant do anything - people complaining about Wall St fraud
        etc



  379 https://cdn.samty.io/files/ifn016bs/production/2845afd8bf6f32f3f6834ef3el95c26bf26ce7ef.pdf
  380
  381 DI 581
Case 4:23-cv-00732-ALM-KPJ Document 104-3 Filed 08/23/24 Page 50 of 75 PageID #:
                                    1807



  812. In after hours trading, AMC shares sur ed and closed up over 63%, up over $2.78, to close
     the after hours session at $7.17, while the APEs closed down over 20%, down over 36 cents
     to close the after hours session at $1.43.


                                                                             AMC: $7.17 APE: $1.43



                                          Adam Aron s July 23rd, 2023 Letter to Shareholders


  813. Like clockwork, on July 23rd, 2023, Aron penned a letter to stockholders encountered an
     assertion of "existential" significance. This nomenclature also raises alarm bells, for it
     insinuates an inextricable link between shareholders' interests and the very survival of the
     company. Aron then proceeds to assert that the company "MUST be in a position to raise equity
     capital," contending that this is imperative to safeguard shareholder value. This statement was
     a flagrant outright lie to shareholders, because the creation of a new share class had already
     granted the company the ability to issue up to 5 billion AMC preferred equity units, an avenue
     to raise equity capital that was well within their purview. This declaration by Mr. Aron,
     therefore, not only lacks factual grounding but also carries a shade of misleading intent.
     According to Mr. Aron s own prior revelations the whole purpose of creating the new share
     class APE, was to raise equity capital through it.



                        Adam Aron @
                        ©CEOAdam

        My open letter message below to you all is on a subject of existential
        im ortance to AMC Entertainment shareholders. I ur e you to read it.
        Ada Aron #AMCSurviveThenThrive
        Post ubersetzen

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                                    1808




  83. Moreover, the insistence that shareholders MUST bestow upon the fiduciaries the ability to
      raise equity capital, when they were already vested with such authority, raises serious questions
      about the board's transparency and genuine dedication to shareholder interests. The subsequent
      reverse split conversion not only brought havoc on shareholder value but also significantly
      weakened shareholders' positions by reducing the number of their shares by a staggering 90%.
      This stratagem bore monumental consequences for shareholders, and the company was remiss
      in taking preemptive measures to shield them from the ensuing nosedive in stock prices over a
      brief span. This oversight, in itself, underscores a disconcerting lack of forethought and a
      palpable absence of the board's fiduciary duty towards the shareholders. To exacerbate matters
      further, the company announced an increased round of dilution (A 25 million share increase
      was announced on August 14, 2023, with the filing from September 6, the amount was risen
      to 40 million shares = +25% of the outstanding shares already issued and diluted) that would
      impact shareholders. This move, undoubtedly translates to further adversity for the
      shareholders who have already borne the brunt of these dilutive measures. In the light of these
      actions and statements, it becomes unmistakably clear that the decisions and communications
      of the board were not in harmony with the fiduciary duties they owe to shareholders. And the
      hypocrisy of the fiduciaries have reached their absolute zenith by making such statements to
      shareholders, while the company has paid the executives for 2022 a total sum of $40,966,575
      in executives compensation while the stock price flushed only in 2022 down around 85%.
  From the outset, it is crucial to dissect the calculated misalignment with fiduciary duties, the ve y
  bedrock upon which corporate governance rests. The board's actions, in particular, reveal a stark
  disregard for the fundamental duties of care, loyalty, and disclosure, not to mention their
  obligation to act within the bounds prescribed by the company's Memorandum and Articles of
  Association. These duties are not mere formalities; they are the backbone of responsible
  corporate govemance, and their transgression cannot be taken lightly. To sum things up, the
  misconduct by the fiduciaries outlined in this action see to have no equal. The fiduciaries
  engaged in deliberate manipulation of shareholders and deceptive practices, reckless fiscal
  imprudence, excessive compensation and inequitable enrichment amidst financial decline,
  audacious investments, absurd executive compensation structure, and an astounding discrepancy
  in CEO compensation compared to other businesses. These actions collectively present a mosaic
  of fiduciary transgressions, a betrayal of the very principles upon which shareholder trust is built.
  The fiduciaries' decisions and declarations serve as a clarion call for scrutiny and, ultimately,
  justice.



  814. On July 24th, 2023, the parties in the consolidated action No. 2023-0215-MTZ, swiftly re¬

      submitted the proposed settlement to Judge Zum. This re-submission, identical except for

      excluding the APE claims from the release, raises questions about the perceived value of the

      APE claims or the motivations of both parties. It suggests a situation where either the APE
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      claims were deemed of zero value, or both the party attorneys were eager to procure the

      settlement regardless of its impact on stockholders.



  815. On July 24th, 2023, Theodore Kittila informed Judge Zum that he was prepared to file a

      motion for a stay pending appeal should Judge Zurn approve the settlement. 382 The parties in

      the consolidated action No. 2023-0215-MTZ opposed, and Theodore Kittila s request for a

      stay was f lly briefed prior to Judge Zurn s decision approving the settlement.



  816. On July 31st, 2023, Katherine Sullivan filed her one page letter with the court in the

      consolidated action No. 2023-0215-MTZ. The letter included, as Exhibit A, her client's

      affidavit. Her letter reads in part,



               I represent Anthony Kramer, who filed a Joinder in the Objection of Rose Izzo

          (D.I. 301). In the July 21, 2023 Opinion regarding the Proposed Settlement, Your

          Honor noted at Footnote 94 that Mr. Kramer s statement that he was unaware of

          the Proposed Settlement until June 2, 2023 is not supported by the exhibit to his
          Joinder, and Mr. Kramer did not verify under oath that he was unaware of the

          Proposed Settlement until June 2, 2023. In support of Mr. Kramer’s Joinder, and

          in an effort to resolve any concerns about the timeliness and due process

          considerations raised therein, Mr. Kramer submits the attached Affidavit which sets

          forth, among other matters, his sworn statement that he did not know until June 2,

          2023 that there was a May 31, 2023 deadline to object to the Proposed Settlement.

          Affidavit of Anthony L. Kramer is attached as Exhibit A. I am available at the call

          of the Court should Your Honor wish to discuss this issue further.



  817. On July 31st, 2023, AMC stockholder Chris Hamberg submitted a 46-page affidavit with

      the court in the consolidated action No. 2023-0215-MTZ. The affidavit contained a

      comprehensive mathematical analysis demonstrating how the reverse split and conversion

      would negatively impact AMC stockholders.383



  382 DI 583
  383 DI 602
Case 4:23-cv-00732-ALM-KPJ Document 104-3 Filed 08/23/24 Page 53 of 75 PageID #:
                                    1810




  818. On August 4th, 2023, there were 519,192,389 AMC shares of common stock and

      995,406,413 APE units issued and outstanding.384



                      Judge Zurn s August ll111, 2023 Memorandum and Decision


  819. On August 11th, 2023, Judge Zurn issued her 110-page Memorandum Opinion

      approving the settlement385. The Memorandum Opinion held that the settlement was

       reasonable and notice was adequate, that Franchi and ACER were adequate representatives

      of the class. In reaching that decision, Judge Zum affirmed Corrine Amato s conclusion that

       objectors did not cany their burden to disqualify Plaintiffs (Franchi and ACER) as adequate
      class representatives. It concluded that the holding of Prezant v. DeAngelis, 636 A.2d 915

      (Del. 1994), was limited to a requirement of a judicial determination of adequacy in class

      actions. It also determined that there was no economic antagonism between Franchi and ACER

      and other class members. As for an opt-out, the Memorandum Opinion concluded that no opt¬

      out is warranted because (a) the class can be certified under Rule 23(a), 23(b)(1) and (b)(2),
      (b) the lack of an opt-out would not violate the due process rights of other stockholders, and

      (c) an opt-out was not feasible. Regarding the fairness of the settlement itself, the

      Memorandum Opinion held that Plaintiffs Section 242 claim possessed little value but that “a

      preliminary injunction has a discounted valued in Plaintiffs’ give.’ The proposed settlement

      also approved, Lead counsel’s award of 12% fee, and Franchi and ACER’S incentive award of

      $5,000. Finally, the Memorandum Opinion rejected Rose Izzo’s objections to the settlement,

      including those related to the scope of the release and the lack of opt-out rights for Class

      members and denied Rose Izzo’s motion for a stay pending her planned appeal, noting that any

      such appeal would “raise only an ordinary question of contract interpretation, and that Rose

      Izzo failed to demonstrate a sufficient likelihood of success on appeal. Judge Zurn also held

      that the granting of a stay would have inflicted “substantial harm on AMC and its

      stockholders.




  384 https://investor.amctheatres.com/sec-filings/all-sec-filings/content/0001411579-23-000057/amc-
  20230630xl0q.htm
  385 DI 615,
Case 4:23-cv-00732-ALM-KPJ Document 104-3 Filed 08/23/24 Page 54 of 75 PageID #:
                                    1811



  820. In after hours trading, the ruling sent the APEs soaring 27% to close the after hours session

     at $2.26, while AMC s common stock fell 27%, to close the after hours session at $3.93.


                                     AMC: $3.93 APE: $2.26


  821. On August 13th, 2023, Alex Mathew filed a motion on the consolidated action No. 2023-

     0215-MTZ docket, questioning whether Judge Zurn authored both the July 21st, 2023 Opinion

     and the August 11th, 2023 Memorandum and Decision. Alex Mathew writes in part,



            That being said, I would like to ask the court if the court had additional jurists
          worked on the judgement on this case that are not publicly disclosed. I have
          studied the linguistics styles of the court throughout the entirety of this case, and
          noticed a dramatic shift in linguistics style in the previous judgments and the
          Opinion Regarding Proposed Settlement, Issued July 21, 2023 and the final
          judgement on August 11, 2023. The intentional use of very uncommon words
          such as appurtenant and “unitary in this written opinion very clearly points
          to a specific author. Those two words used together in one document stick out
          in my mind because legal (business) academics use it more prevalent than others.
          Those are what pedestrians like myself call “rare words that used in select
          applications that are so finite, that it s exclusive uses are limited in scope. So
          rare that you scarcely see them. It s that rarity that made it so fascinating to me.
          The person who uses words like that has a deep understanding of the context it
          is used in business. So I went on LexisNexis to see if I could find any past
          documentation of the court’s usage of those two words in any available legal
          document, but there were none. So my initial question for the court began at,
          “was there another judge helping? , and now its How much work has this
          person done in this case? And were there other judges involved that was not
          disclosed to class members? If we looked through emails, and phone records,
          what will I find? Then the usage of the words “human owners was also very
          curious. There is a cold indifference to the usage of that phrase that shows a
          certain tone, I had not seen in previous documents the court had penned. This
          lead me to the conclusion that neither the first rejection and subsequent approval
          was not penned by the court (Vice Chancellor Morgan T. Zurn) but by someone
          else. I also found it strange that Unocol was brought up, which was a Federal
          matter I had read about. As it tu s out, I found my answer on Wikipedia of all
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                                    1812



           places. Judge Laster uses it quite frequently when making decisions. What a
           strange coincidence I thought. 386


  822. Before the market opened on August 14th, 2023 the next business day following Judge

     Zul s approval of the settlement and lifting of the status quo order AMC announced that:



         • August 24th, 2023 - the reverse stock split of Common Stock would occur
         • August 25th, 2023 - the conversion of APEs into Common Stock would occur
         • August 28th, 2023 - the Settlement Consideration would be issued


  823. On August 14th, 2023, Judge Zum denied Alex Mathew s August 13th, 2023 motion stating

     in part,

                 The motion identifies no valid grounds for recusal. I am the sole
                author of the July 21 Opinion. To the extent the movant believes
                further investigation is necessary, this Court is the wrong avenue to
                pursue such relief. Further, because there was no trial in this action, the
                Court cannot declare a mistrial. The movant identified no basis to
                reinstate the status quo order. 387


  824. Judge Zum's denial of Alex Mathew's August 13th, 2023 motion clearly lacks clarification

     on whether she is the author of the August 11th, 2023 Memorandum and Decision. The denial

     neither admits nor denies her authorship of the document, leaving ambiguity regarding its

     origin.



  825. Also on August 14th, 2023, Michael Simons, an APE shareholder brought a pending action

     in Delaware Chancery Court, case number 2023 0835-MTZ388, against AMC for,

          (a) a declaratory judgment that the August 11th, 2023 Settlement breaches the
           Series A convertible participating preferred stock certificate of designations
          ( COD ); and
          (b) an injunction requiring AMC to

                 (1) give effect to the anti-dilution provision in Section VI of the
                 COD, which requires AMC to adjust the number of shares of AMC

  386 DI 619 for Case 2023-0215-MTZ
  387 DI 622 for Case 2023-0215-MTZ
  388 https://www.docketalarm.com/cases/Delaware_State_Court_of_Chancery/2023-
  0835/Simons_v._AMC_Entertainment_Holdings_Inc/92351725/
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                Class A Common Stock to be received by the holders of the APEs
                upon the conversion of the Preferred Stock according to the formula
                set forth therein, and
                (2) give effect to Section III of the COD and distribute the Special
                Distribution of the Settlement to the holders of APEs at the same
                time and on the same terms as it will be distributed to the holders of
                Common Stock.



  826. On August 14th, 2023, AMC Common stock opened the regular trading session at $3.33,

     down over 36% from its previous day close of $5.26 and APE opened the day at $2.04.



                                    AMC: $3.33 APE: $2.04


  827. On August 15th, 2023, Theodore Kittilia filed an application for interlocutory appeal in the

     Court of Chancery in Delaware, in a final effort to avert disaster, Rose Izzo asked Judge Zurn

     to reimpose the Status Quo order, and a motion for a Status Quo Order pending appeal in the

     Supreme Court of the State of Delaware.



  828. On August 16th, 2023, AMC stockholder and objector, Alexander Holland, filed a

     complaint with the NYSE, which was assigned complaint number CC35096275. The
     complaint reads in part,


         Dear NYSE Compliance Department,


            I am Alexander Holland AMC Common Stockholder, and I want to bring a
         matter of upmost urgency to your attention involving recent developments at AMC,
         which appears to potentially infringe upon the rights and interests of common
         shareholders and will cause SIGNIFICANT ECONOMIC HARM to 3.8 million
         shareholders worldwide. On August 14, 2024, AMC ENTERTAINMENT
         HOLDINGS, INC. released in an 8-K filing (001-33892) stating that:

            1. Company files the amendment to its Third Amended and Restated
                Certificate of Incorporation to enable the Share Increase, Reverse Stock
                Split and Conversion to occur, setting an effective time for the Reverse
                Stock Split and Share Increase at 12:01 a.m. on August 24, 2023
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                                    1814



           2. Class A common stock (NYSE: AMC) commences trading on a one-for-
               ten split-adjusted basis (for comparison, the prior trading day s closing
               price is multiplied by 10)
           3. Last day of trading of AMC Preferred Equity Units (NYSE: APE) (no
               adjustment is made to prior closing price, 1 APE is now comparable to
               1/1 Oth of share of Class A common stock)
           4. Record date set at close of business for holders of Class A common stock
               entitled to Litigation Settlement Payment


        Pursuant NYSE Rule 9800 TEMPORARY CEASE AND DESIST ORDERS &
        Rule 9810 Initiation of Proceedings I want to urge you to issue an EMERGENCY
        Cease and Desist order to the filed transaction of AMC ENTERTAINMENT
        HOLDINGS, INC. for the following reasons:


           1. Violation of the Board of Directors of SEA Rule 10b-5:


            a. Misrepresentation or omission of material information: Providing false
            or misleading information, or not disclosing important information that
            could affect a person's decision to buy or sell a security.


            b. Materiality: The information that is misrepresented or omitted must be
            significant enough to influence an investor's decision.


            c. Reliance: The person who is harmed by the fraud must have relied on
            the false information when making their investment decision.


        According to Discovery documents of the Class Action Lawsuit 2023-0215-MTZ
        the Board of Directors implemented a scheme to overthrow the voting power of
        AMC Common Stockholders. This scheme - called Project Popcom was
        introduced in November 2021 and was not publicly disclosed to shareholders. In
        the PLAINTIFFS OPENING BRIEF IN SUPPORT OF SETTLEMENT,
        AWARD OF ATTORNEYS FEES AND EXPENSES, AND INCENTIVE
        AWARDS EFiled: May 04 2023 Transaction ID 69958454 Case No. 2023-0215-
        MTZ, the happenings around Project Popcom were thoroughly described. There
        it states “In November 2021, the Company’s banker, Citigroup, began work on
        “Project Popcorn, a prospective issuance of an alternative form of equity that could
        convert into Common Stock. By February 2022, Citigroup proposed that “AMC
        could call [the rights] AMC Preferred Equity Units ( APEs ). Van Zandt
        expounded upon this proposal at a Board meeting held on February 17, 2022: The
        rights are dilutive so the shareholders are incented to buy the shares to avoid
        dilution. Mr. Van Zandt ...reviewed the decision tree each shareholder would
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        process. Notwithstanding Aron s rosy public statements about AMC s financial
        outlook, by no later than mid-May 2022, AMC s executives were exploring giving
        APEs special voting powers that could be maneuvered so management could force
        amendment of its Certificate. Specifically, on May 17, 2022, D.F. King and the
        Company’s attorneys discussed using supervoting preferred stock and proportional
        voting to effectively lower the standard for an amendment.28 On May 27, 2022, B.
        Riley Financial, one of the Company’s advisors, sent AMC executives Sean
        Goodman and John Merriwether a number of prospectuses from issuers that had
        used supervoting preferred shares to force through Certificate amendments.29 A
        July 20, 2022 memorandum about the potential APE issuance showed that AMC
        was by then already planning an ATM offering of APEs.30 Goodman
        acknowledged that [ijndex funds that own AMC common shares will likely be
        required to sell the Preferred Equity Units, while this may put pressure on the value
        of the Preferred Equity Units, lower index fund ownership also means less shares
        available for short sellers to borrow and this could have an offsetting positive
        impact on the trading value of the Preferred Equity Units. 31 In a contemporaneous
        email exchange, Goodman agreed that registration of one billion preferred equity
        units would make sense (with)approximately 517 million to be used for the
        dividend and the remainder to be sold through an ATM offering), with Merriwether
        asserting that [tjhere is a sweet spot somewhere that doesn’t raise the shareholders’
        ire about dilution but also gives us the flexibility to raise the capital we want. I think
        we will get ire no matter what the number is, so does it make sense to get the ire
        out all at once at IB.


        "Project Popcorn," which is a scheme involving the issuance of an alternative form
        of equity (AMC Preferred Equity Units - APEs) that could convert into Common
        Stock. This scheme was deliberately not publicly disclosed to shareholders until the
        Class Action Lawsuit. The Board of Directors intentionally withheld or
        misrepresented information about this scheme which is in FACT a violation of SEC
        Rule 10b-5.


           Materiality:
          The issuance of APEs in August 22, 2022 negatively impacted the value and
          voting power of AMC Common Stockholders. It annihilated AMC
          stockholders investments. The super voting power through mirrored voting
          infonnation was not disclosed to AMC Common Stockholders and would had
          significant impact to influence investors' decisions of buying or selling AMC
          common Stock prior the APE issuance and or after. Quote: The Company
          did not highlight how much the mirror-voting instruction to Computershare
          would likely increase the power of Antara’s votes, or that APEs would
          assuredly carry more voting power per unit than shares of Common Stock.
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          Reliance and Investor Impact:
          The discussions around the issuance of APEs and the potential special voting
          powers attached to clearly show that the AMC management was considering
          actions that significantly impacted shareholders' voting rights. Shareholders
          were not made aware of these changes and its affects and relied on the
          information available to them, thus they were misled in their investment
          decisions by the Board of Directors.


          Timing and Disclosure:
          The fact that "Project Popcorn" was introduced in November 2021 but not
          publicly disclosed to shareholders until the Class Action Lawsuit factually
          proves the lack of timely and accurate disclosure of Material Information to
          Shareholders, which is a key aspect of SEC Rule 10b-5.


          Market Impact:
          In addition to that, the discoveiy showed, that the impact of the APE issuance
          on index funds, causing a major sell-off had potential consequences for the
          market and investors. If these consequences were not adequately disclosed, it
          is also a violation under the rules of SEC and NYSE.


          2. Under NYSE Rule 2010 member organizations and individuals
             associated with the NYSE MUST adhere to ethical standards and
             requirements. The rule requires members to observe "high standards of
             commercial honor and just and equitable principles of trade." It means
             that members of the NYSE must conduct themselves in an honest and fair
             manner when engaging in any business activities related to the stock
             exchange. This rule aims to maintain the integrity of the marketplace and
             protect investors from unethical practices.


          The Board of Directors has deliberately manipulated a shareholder vote on
          March 14, 2023. In the Opinion from Vice Chancellor Morgan T. Zum
          EFiled: Jul 21 2023 Transaction ID 70454004 Case No. 2023-0215-MTZ
          (Source:
          https://www.docketalarm.com/cases/Delaware State_Court_of_Chancery/2
          023-
          0215/IN_RE _AMC_ENTERTAINMENT_HOLDINGS_INC._ STOCKHO
          EDER LITIGATION/92190035/)

          She clearly states the following on page 22/23:
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           A majority of common stockholders and a majority of the APE unitholders
          did not give any voting instructions at all, let alone in favor of the Proposals.
          The Proposals passed only because of the APEs mirrored voting feature and
          Antara s promised APE votes. AMC acknowledged that fact internally.


                But only 35.23% of the 517,580,416 outstanding shares of common
               stock were present and voted at the Special Meeting, meaning only
               25.54% of the outstanding common voted for the Share Increase
               Proposal, and 24.80% for the Reverse Split Proposal.


          Further she states:


                The defendants continue to misrepresent the nature of the vote by
              including the uninstructed mirrored votes in the total. In this litigation,
              the defendants have touted, “AMC s Proposals to authorize additional
              shares of Common Stock and convert the APEs into Common Stock
              were overwhelmingly supported by holders of both APEs and Common
              Stock .


              This is a clear violation of NYSE Rule 2010. The board used a scheme to
              overthrow his shareholders and now they try to implement the changes
              on a fraudulent basis.



          3. On Feb 20, 2023 the plaintiffs filed a request for a court issued


             “Temporary Restraining order . The Brief was filed with Transaction ID
             69181648                                   (Source:
             https://www.docketalarm.com/cases/Delaware_State_Court_of Chancer
             y/2023-
             0215/Allegheny County Em loyees%27_Retirement System on_beha
             lf_of_itself and_all_other_similarly-
             situated Class_ A_stockholders_of AMC Entertainment Holdings Inc,
               v. AMC_Entertainment Holdin s Inc/90908043/90908045/).

          In that brief, the plaintiffs used the “irreparable harm argument successfully
          to get the Status Quo order granted in the first place. On a motion for
          expedited proceedings or a temporary restraining order, a plaintiff must show
          only a sufficient possibility of threatened irreparable injury. Rohm & Haas
          Co. v. Dow Chem. Co., 2009 WL 445612, at 2 (Del. Ch. Feb. 6, 2009)
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          (citation and quotation marks omitted) (addressing a motion to expedite);
          CBS, 2018 WL 2263385, at 6 (addressing a motion for a temporary
          restraining order). Here, absent a temporary restraining order and e pedition,
          Plaintiff and the other common stockholders of AMC will be damaged
          irreparably, with only highly speculative and hypothetical means of
          unwinding Defendants proposed amendments to AMC s Charter and
          proposed conversion. Indeed, if the March 14 stockholder vote goes
          forward and the Proposals are adopted, each existing APE unit will convert
          into shares of AMC common stock traded publicly on the NYSE resulting
          in SIGNIFICANT ECONOMIC HARM to the Company’s existing Class A
          Stockholders. If the Court were to later find that the conversion results from
          a breach of fiduciary duty or that the Preferred Stock was never properly
          authorized, it does not appear that there would be any practical means of
          unwinding that conversion which, as noted above, would result in
          significant dilution of the economic and voting rights of AMC’s common
          stockholders as a class. See Police & Fire Ret. Sys. of City of Detroit v.
          Bernal, 2009 WL 1873144, at 2 (Del.Ch., 2009)" Merely because the
          'parties' have deceitfully concocted a resolution based on fraud and the court
          has, regrettably, approved a settlement that allows a corporate action based
          on a foundation of illegal voting fraud - a reality explicitly acknowledged in
          the court's initial opinion on the proposed settlement (Transaction ID
          70454004) and the discovery documents - does not in any way invalidate or
          miraculously eliminate the underlying justifications that led to the issuance
          TRO on February 27, 2023. This undeniably implies that the initial decision
          of the trial court to grant the TRO was rooted in a crystal-clear understanding
          of the substantive, significant, irreversible, and imminent financial damage
          AMC Common Stockholders will face.


          4. On August 16, 2023 an AMC Common Shareholder filed a Motion for
             Status Quo pending appeal (File No. 290, 2023) in the Delaware Supreme
             Court. For reasons not immediately apparent, the perplexing decision of
             the Chancery Court to lift the status quo order and deny a motion
             (Transaction ID 70620767) to let the status quo intact before a higher
             court can review an appeal. This decision diverges from the well-founded
             conclusions reached during the TRO proceedings, resulting in an apparent
             contradiction and oversight. Nevertheless Shareholders seek assistance
             against the fraud they suffered in higher courts. The NYSE cannot and
             should not ignore the exceptional and evolving circumstances around the
             case.
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          5. According to Rule 9840. Issuance of Temporary Cease and Desist Order
              by Hearing Panel should be immediately issued:


          (a) Basis for Issuance The Hearing Panel shall issue a written decision stating
          whether a temporary cease and desist order shall be imposed. The Hearing
          Panel shall issue the decision not later than ten days after receipt of the
          hearing transcript, unless otherwise extended by the Chief Hearing Officer or
          Deputy Chief Hearing Officer for good cause shown. A temporary cease and
          desist order shall be imposed if the Hearing Panel finds:
          (1) that Enforcement has made a showing of a likelihood of success on the
          merits; and
          (2) that the alleged violative conduct or continuation thereof is likely to result
          in significant dissipation or conversion of assets or other significant harm to
          investors prior to the completion of the underlying disciplinary proceeding
          under the Rule 9200 and 9300 Series.
          (b) Content, Scope, and Form of Order A temporary cease and desist order
          shall:
          (1) be limited to ordering a Respondent (and any successor of a Respondent,
          where the Respondent is a member organization) to cease and desist from
          violating a specific rule or statutory provision, and, where applicable, to
          ordering a Respondent (and any successor of a Respondent, where the
          Respondent is a member organization) to cease and desist from dissipating or
          converting assets or causing other harm to investors;
          (2) set forth the alleged violation and the significant dissipation or conversion
          of assets or OTHER SIGNIFICANT HARM TO INVESTORS that is
          likely to result without the issuance of an order;


          There should be no confusion here, if the conversion will be granted and
          exercised by the NYSE - on which basis to do so, the NYSE will take
          responsibility in allowing FRAUD to happen upon millions of shareholders,
          Pandora s box will be open and the NYSE might see unknown consequences
          in reputation damages and years of following litigations. I really hope your
          compliance department is going to do the right thing and stop this fraud from
          further continuing.


                                                               Sincerely,
                                                               Alexander Holland
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  829. On August 21st, 2023, Rose Izzo s application to reimpose the Status Quo Order was

     denied. The same day, Rose Izzo withdre her interlocutory appeal in the Court of Chancery.



  830. On August 21st, 2023, the Supreme Court of the State of Delaware denied Rose Izzo s

     motion for a status quo order pending appeal.




                     August 24th, 2023 Conversion Reverse Split is Effectuated



  831. On August 24th, 2023, AMC effectuated a draconian 10:1 Reverse Stock Split, a move that
     concomitantly involved the conversion of APE shares back into AMC common shares. This
     structural change fundamentally altered the landscape, resulting in a revised total authorization
     of 550 million shares of the certificate (post-split). Simultaneously, approximately
      158,382,446 shares remained outstanding (post-split). However, this transformation came at a
     considerable cost, leading to an astronomical and egregious dilution of AMC Common
     stockholders, measurin a sta ering 1749%. The repercussions of this dilution are palpable
     and profound.


  832. Asa result, the AMC share price plummeted from its peak on June 2nd, 2021, commanding
     a post-split adjusted value of $726.20, to a meager $4.38 on February 9th, 2024. This
     precipitous decline amounts to a remarkable -99.01%, descending even below the pandemic-
     induced market valuation of the company. For household stockholders, this saga epitomizes
     sickening financial pain through unprecedented dilution. Their cost average has surged tenfold,
     potentially resting in a range between $50 and $150 for millions of people, with a striking
     reduction of 90% in their holdings. These stockholders, who were once cordially praised as
     heroes by the fiduciaries themselves for salvaging the company, now find themselves bereft of
     any tangible retu s on their investments. Their property has been managed in a manner that,
     over a span of merely 2.5 years, has resulted in a profound transformation from praised saviors
     to holders of worthless assets with their investments.


  833. On August 25th, 2023, AMC converted outstanding APEs to Common Stock.


  834. On August 28th, 2023, AMC issued the settlement consideration, which was perceived by
     stockholders to offer no real value. On August 25th, 2023, AMC stock closed at $12.43, but on
     August 28th, 2023, it opened at $11.90 and closed at $11.07. Even on August 29th, 2023, AMC
     stock closed at $10.91. By early September 2023, AMC was trading in the $7 and $8 range.
     The perceived value of the new AMC shares provided by the proposed settlement was
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        swiftly eroded by the declining trading value of AMC stock, as warned by the AMC Objectors
        in the AMC Community Objection Brief.

  835. The Reverse Stock Split, coupled with the share increase, facilitated the conversion of all
     outstanding AMC Preferred Equity Units into shares of Class A common stock. Based on
     995,406,413 AMC Preferred Equity Units outstanding as of June 30th, 2023, an aggregate of
     99,540,641 shares of Class A common stock were issued as part of the Conversion. Following
        the Reverse Stock Split, Conversion, and Settlement Payment, there are, as of September 1st,
        2023:


                         Outstanding shares of Class A common stock: 158,382,446


  836. AMC also retains the potential and authorization to issue up to 550,000,000 shares of AMC

        Class A common stock. The adjusted comparison of the split and conversion results in a mind¬

        blowing 1449% dilution.


  837. On August 28th, 2023, Theodore Kittila made an application with Judge Zurn in the

        consolidated action No. 2023-0215-MTZ, for an Interim Award of Attorneys Fees and

        Expenses.389



  838. Sometime in September, 2023, Mark Lebovitch, one of the lead counsel in the consolidated

        action No. 2023-0215-MTZ, retired.


  839. On September 6th, 2023, AMC entered into an equity distribution agreement with Citigroup
        Global Markets Inc., Barclays Capital Inc., B. Riley Securities, Inc., and Goldman Sachs &
        Co. LLC as sales agents. This agreement allowed for the sale of up to 40,000,000 shares of
        Class A common stock, from time to time, through an ATM offering program.


  840. On September 13th, 2023, AMC announced the completion of its previously disclosed
        ATM offering initiated on September 6th, 2023. Despite the offering, the company only
        managed to raise a modest sum of $325.5 million in cash, with shares being sold at an average
        price of approximately $8.14 per share (pre-adjusted price = $0,814). This offering resulted in
        a significant increase in the company's float by 25%, leading to substantial dilution for existing
        shareholders. The extent of dilution, calculated at an astonishing 1815%, highlights the
        significant impact on existing shareholders' ownership stakes.


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        DI 655 for Case 2023-0215-MTZ
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  841. On September 13th, 2023, there were 198,382,446 AMC shares of common stock issued
      and outstanding.


  842. On September 15th, 2023, Judge Zum granted the stipulation and proposed order of
      dismissal in the consolidated action No. 2023-0215-MTZ. Lead Counsel s fee fell from the
      $20 million they had initially sought to $5,759,087.46. Franchi and ACER were each awarded
      $5,000 Incentive Awards which shall be paid out of the Fee and Expense Award. The Fee and
      Expense Award shall be paid by the AMC Defendants and/or their insurers pursuant to the
      terms of the Stipulation.


                                  Lead Counsel - $5,759,087.46
                                  Franchi - $5,000.00
                                  ACER - $5,000.00

  843. The August 11th, 2023 Memorandum and Decision contemplated that Lead Counsel would
      be paid 12% of the value of the Settlement Shares, based on the closing price of AMC common
      stock on the date Settlement Shares are issued, making any necessary adjustments to account
      for dilution to the legacy common stockholders. The Settlement Shares were issued on August
      28th, 2023 and the closing price of AMC common stock was $11.07 per share.


  844. Also on September 15th, 2023, Judge Zum rendered a decision to Theodore Kittila s August
      28th, 2023 application for an Interim Award of Atto eys Fees and Expenses and Rose Izzo’s
      application for an incentive fee. Judge Zu awarded:


                                  Theodore Kittila - $212,700.00
                                  Rose Izzo - $3,000.00


  845. On October 12(h, 2023, three months after Sakoya Blackwood’s sentencing memorandum
     was published on the New York Southern District Court docket, Liz Hoffman at Semafor
     published an article at 5:59 am EST titled, AMC’s CEO shared sexually explicit photos and
     texts in blackmail plot .390 The question remains: How did Liz Hoffman identify Aron as the
     Victim / Victim-1?

  846. Following the Semafor article being published, 31 minutes later, at 6:30 am EST, Aron
     tweeted out to AMC stockholders giving them notice,




  390 https://www.semafor.eom/article/10/l 1/2023/amc-ceo-adam-aron-amcs-ceo-shared-sexually-explicit-
  photos-and-te ts-in-blackmail-plot
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              Throughout my long career, I have successfully led many prominent companies and am
            proud of my impeccable reputation. In recent years, AMC's millions of retail shareholders
            have played a central role in my life. Your passion for our company is one of my key
            motivators in doing all I can to help AMC survive so that eventually we can thrive.
            Because you are so important to me, there is a matter I want to share with you. By
            definition, I live my life in the public eye. Unfortunately, last year I became the victim of
            an elaborate criminal extortion by a third party who was unknown to me related to false
            allegations about my personal life. Rather than give in to blackmail, I personally engaged
            counsel and other professional advisors and reported the matter to law enforcement. I did
            so knowing I risked personal embarrassment. But with my access to resources, if I did not
            stand up against blackmail, who could? A vigorous federal criminal investigation ensued
            which resulted in the extortionist being arrested, convicted of a felony, and spending nearly
            a year in jail. At the time of the arrest, the U.S. Attorney for the Southe District of New
            York commended my having reported the matter to the FBI and the U.S. Department of
            Justice. This was entirely a personal matter. I was asked by law enforcement to keep this
            matter confidential during their investigation and subsequent court case. Shortly after the
            extortionist's July 2023 sentencing, I informed AMC's Board of Directors which
            thoroughly reviewed these events with independent outside counsel at WilmerHale. As I
            said above, this indeed was entirely a personal matter, and the matter is closed. And now,
            I am reporting this to all of you. I could not end this message without again thanking you
            for your support as well as emphasizing my extreme gratitude to the U.S. Attorney s
            Office for the Southern District of New York and to the FBI for their diligent, skillful, and
            professional handling of this unfortunate matter. 391

  847. Aron's blackmail continued throughout the pendency of the consolidated class action
         lawsuit in Delaware Chancery case number 2023-0215-MTZ. However, it was not publicly
         disclosed to Judge Zurn or AMC stockholders until after the conversion reverse split theft that
         occurred against AMC stockholders.

  848. On October 13th, 2023, Rose Izzo filed her notice of appeal with the Delaware Supreme
         Court,


                  does hereby appeal to the Supreme Court of the State of Delaware from the
              Report and Recommendation of the Special Master Regarding Objections to
              Proposed Settlement dated June 21, 2023 by Special Master Corinne Elise
              Amato (the Report ); the Opinion dated July 21, 2023 (the “First Opinion );
              the Memorandum Opinion dated August 11, 2023 (the Second Opinion”); the
              interlocutory Order Certifying Class and Approving Settlement dated August
              11,2023 (the Interlocutory Order ) certifying a class under Court of Chancery


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        https://twitter.eom/CEOAdam/status/l 712415394454208905?lang=en
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             Rule 23, approving the adequacy of the proposed representatives of the
             class, approving the reasonableness of the proposed settlement, and
             approving an award of attorneys fees and expenses and the payment of incentive
             awards; and the final order of dismissal (the Final Order ) dated September 15,
             2023, all of the Court of Chancery, in and for New Castle County, by the
             Honorable Vice Chancellor Morgan T. Zurn (except for the Report), in case
             number 2023-0215-MTZ in that court. 392

  849. On October 19th, 2023, Aron notified Norwegian Cruise Line Holdings Ltd. that he was
        resigning from the company's Board of Directors, effective immediately.393

  850. On November 7th, 2023, there were 198,356,898 AMC shares of common stock issued and
        outstanding.394


  851. On November 15th, 2023, HYMC effectuated a one-for-ten (1-10) reverse split of its Class
        A Common Stock.


  852. On December 1st, 2023, Rose Izzo filed her appeal with the Supreme Court of the State of
        Delaware.




  853. On January 26, 2024, Theodore Kittila (Attorney for Rose Izzo) filed the APPELLANT’S
         EPLY BRIEF for Case No. 385,2023 to the Dela are Supreme Court. This document is part)
        of the appeal process for the appeal of case CONSOL. C.A. NO. 2023-0215-MTZ from the


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  https://www.streetinsider.com/Board+Changes/Norwegian+Cruise+Line+%28NCLH%29+Announces+R
  esignation+of+Adam+Aron+from+Board/22296444.html
  394 https://investor.amctheatres.com/sec-filings/all-sec-filings/content/0001411579-23-000087/amc-
  20230930xl0q.htm
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     COURT OF CHANCERY OF THE STATE OF DELAWARE. On pages 1-2 in the
     preliminary statement, Kittila states: Reversal and remand remain AMC stockholders only

     hope for recovery following the economic disaster that Plaintiffs dismissed as speculation.
     A936. While Plaintiffs boast of increasin common tockholders “pro forma ownership of
     post-Conversion AMC by nearly 3%, they ignore AMC s post-Conversion collapse. PAB at

     1. The Class lost millions. Plaintiffs lost nothing: their incentive awards exceed their

     investments. And the hemorrhaging continues: AMC now trades below $5/share, far less than

     the approximately $28/share post-Conversion price Plaintiffs predicted. A453. Defendants
     “rig[ged] the Special Meeting vote to overcome common stockholder opposition and the

     defeating presence of nonvotes. MO at 76. Plaintiffs Jhen sold Defendants insurance against

     predictable devastation. True, Defendants could have resubmitted thei proposal following the
     amendments to DGCL Section 242. PAB at 35. But had they won the vote, Class claims would

     not have been, as Plaintiffs maintain, “statutorily mooted. Id. at 1 [The Plaintiffs Answering

     Brief and Defendants’ Answering Brief (together, the “Answering Briefs ) are abbreviated

     “PAB, and “DAB, respectively. Unless otherwise defined herein, capitalized words have the

     meaning set forth in Appellant’s Opening Brief (“OB )]. Defendants gained far greater
     protection through an overbroad release. See Section I, infra. Appellees urged the trial court

     to the erroneous conclusion that “Plaintiffs suffered the same type of harm proportionate to

     their common stock holdings as every other class member. MO at 24. They did not. Plaintiffs

     Consider that the Settlement’s “equitable ... relief’ included lifting the Status Quo Order. PAB

     at 31 . That “relief’ vindicated stockholders who voted “yes the beneficiaries of Defendants’

     scheme, not the victims. As a matter of due process, Plaintiffs’ admission that they would not

     have enforced an injunction rendered a non-opt-out settlement uncertifiable and made

     Plaintiffs inadequate representatives. See Sections II & III, infra. Plaintiffs’ deal required no

     contribution from the individual Defendants, but instead diluted APE-holders not accused of




     following losses of “75% of investment of “life savings of $554,707.35 ); AR51 (stockholder
     holding 1,000 shares and requesting opt-out).] Delaware law should not leave dissenting
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      stockholders without a remedy. 395 Kittila calls out AMC s misrepresentations regarding their

     bankruptcy risk and cash flo reportin , on Pa es 3-4, Kittila states, Plaintiffs reliance upon



     In February 2023, Plaintiffs maintained that AMC s non-public internal documents did not
       indicate that the Company faced bankruptcy or any other existential threat?’ Al 84. AMC’s
     2022 forecast showed positive cash positions without any capital raise or additional borrowing.

     PAB at 34. Discovery showed AMC was set to exceed these expectations, even without $80.3

       illion in APE sales. Compare id. with AR54 (February 2023 email anticipating QI cash
     balance of $428.6m). Actual results were even better. PAB at 15 n.38. Plaintiffs’ opinion

     changed once settlement (and a potential $20 million fee) loomed. But when the trial court
      asked Plaintiffs to identify which discovery document convinced them that AMC “was facing
     imminent bankruptcy, they did not. Op. at 61 n.194; MO at 81. Plaintiffs now offer recent

      data, without attribution or context, to contend that AMC “bled money during 2023 “while

      selling almost a billion dollars’ worth of equity. PAB at 20 n.63. AMC’s SEC filings tell a
     (Efferent story. AMC held $729.7 million in cash and cash equivalents after its “most)
      successful third quarter results in its history and the “second. consecutive quarter of positive

     net income. Ex. 1 at 1. Yes, AMC raised $865 million in equity by December 11, 2023. Ex.

     2 at 1. But $440 million was used to pay down debts, most not due until 2026. Id. Paying down

     debt with new equity is restructuring, not “bleeding cash or a sign of insolvency. At

      settlement, Plaintiffs believed that the Conversion would save AMC from bankruptcy and set

     (it on an “u ward trajectory. A721. Dissenting stockholders believed the exact opposite.

      Plaintiffs had a remedy: dismiss their lawsuit and ote for Defendants’ transaction. Allowing

     them to speak for dissenters and strip them of their rights is the core legal error at issue/’J9
     Kittila reported that the approval of the proposed settlement violates of due process regarding

     the non-opt out and the lack of notification of the settlement class, and that absentee

      shareholders had their rights taken away. Regarding the due process violations, on pages 8-10,

     Kittila stated: “Neither brief confronts the obvious due process problem. The trial court closed

     the record on June 30, 2023, and it did not consider submissions thereafter. MO at 6. Because


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     the settlement may release securities claims related to subsequent statements (PAB at 25)J
      absent class members ... could have their claims released without an opportunity to be heard.

     In re Celera Corp. S holder Litig., 59 A.3d 418,433-34 (Del. 2012) (quoting Edward P. Welch,
     et al., Mergers and Acquisitions Deal Litigation Under Delaware Corporation Law § UhOl]
     (2012)). Plaintiffs sold Defendants immunity from violations of Delaware law and federal
     securities claims for over a month after the settlement hearing for any aterial

     misrepresentation connected in any way to an allegation in the Complaints. This violates due

     process and disregards PHLX s limitations. Similarly, the release violates Griffith s holding.
     Because “a release that directly or indirectly binds absent interested parties is limited by the
     Due Process Clause, it may not “release claims based on a set of operative facts that will occur

     in jhe future. 283 A.3d at 1134, 1137. Appellees cannot cabin Griffith to releases that
     explicitly mention future stockholder votes. See PAB at 26-27; DAB at 28-29. The Griffith

     Court also analyzed future events unrelated to any vote such as a future corporate scandal

     that might implicate an overbroad release. Id. at 1136. Ms. Izzo offered a similar example: a

     federal securities claim. OB at 26. Ap ellees did not respond because the example is fatal to

     their argument. Damages are in element of a federal securities claim under Rule 1 Ob-5, and

     losses often may not be measured until the market responds to the correction of a misleading

     statement. See, e.g., Stanley Black & Decker, Inc. v. Gulan, 70 F. Supp. 3d 719, 727-28 (D.

     Del. 2014) (discussing economic loss and loss causation). Assume an AMC stockholde

     purchased shares in reliance upon Aron’s statements related to this action during the class

     period. If those statements are revealed to be materially misleading a year later, a securitie

     'cl im ould “relate to ownership during the class period since that is when the purchase
     occurred. But it would also arise out of unknowable future events. Defendants’ need for this

     overbroad protection is obvious given the postsettlement catastrophe. In class settlements,

     “[djefendants are motivated to reach an agreement that provides the broadest possible

     protection from future disputes. Griffith, 283 A.3d at 1133-34. Contrary to Plaintiffs Brief,
     Defendants could not have protected themselves through a new, fair vote. PAB at 1, 35.

     Stockholder ratification does not extinguish claims: it applies a deferential standard of review.

     Griffith, 283 A.3d at 1136. That protection only extends to the specific transaction that

     Defendants seek to approve; thus, a vote on the Conversion would not affect claims arising

     from the creation of the APEs (let alone tangential claims like Hycroft). See Gantler v.
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      Stephens, 965 A.2d 695, 713 (Del. 2009). Defendants, while pursuing an unconstitutionally
      overbroad release, never echoed Plaintiffs assurance that after the settlement [AMC s]

      market cap would be in an upward trajectory. A721. They anticipated the value of protectio
      greater than they could achieve through a fair vote, a PHLX- and Griffith-complaint release,

      or even victory at trial. 397 On Page 12, Kittila states: PHLX and Griffith protect the
      constitutional due process rights of absent stockholders. If an appropriate settlement were truly

       unworkable, then the settlement must yield, not constitutional rights. An appropriate release

      was available. But it would not have protected Defendants from the looming postsettlement

      disaster. 398 On page 15, Kittila explains that the <<Non-Opt-Out Settlement is a Denial of Du

      Process and an Abuse of Discretion , and states, Here, Plaintiffs failed to represent the



      Plaintiffs chosen relief did not simply differ from that “thought to be what would be desired
      by other members of the class. Prezant v. DeAngelis, 636 A.2d 915, 924 (Del. 1994)

      (quotation omitted)). Plaintiffs viewed the lifting of the Status Quo Order as part of the
      settlement’s “relief. PAB at 31. They lauded the Conversion as benefitting AMC, asserting;

      there was “no basis to assume that the market cap would be cut by half’ and that it would, put

      “market cap ... in an upward trajectory. A721. Not only were Plaintiffs wrong, they sat iri

      diametric opposition to the stockholders whose will Defendants subverted those who wished

      to vote “no. MO at 76. It was “a violation of due process to permit them to obtain a judgment

      binding absent plaintiffs. Prezant, 636 A.2d at 924 (quotation omitted). 399 Regarding the
      need for an opt out given the shareholder response, on pages 17-18, Kittila states: “This case

      attracted an unprecedented number of objectors, some of whom traveled great distances to

     make their voices heard. A783-84, A796. The number of opt-outs would undoubtedly have:

     been greater if (a) stockholders were given notice of an opt-out right, and (b) notice were

     distributed in a manner designed to let them exercise that right. 10 OB at 12 n.4. [Footnote 10

     - Plaintiffs refer to “only 2,850 timely objectors (PAB at 36) but omit that the parties gave


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      the majority of recipients no more than two business days to respond. OB at 12 n.4. Appellees

      failure put the trial court in the awk ard position of walking back its earlier order that notice

       will only work if postcards will generally be delivered by May 24, 2023. MO at39.] Given
      the hurdles set before dissenting stockholders, the fact that thousands responded when

      normally few appear speaks to the need for an opt-out. 400 On Pages 18-19, Kittila states:

       Appellees ignore viable claims preserved by an opt-out: the claims Plaintiffs advanced in the

      trial court. PAB at 30-31. Allegheny s complaint sought “damages in an amount which may

      be proven at trial. AR41. At settlement approval, Plaintiffs maintained that “[t]he claims
      against the AMC Board for its conduct involve both equitable relief and monetary damages.

      A333 (emphasis added); SMR at 71 (same). At the settlement hearing, Plaintiffs counsel
       iscussed the possibility of post-Conversionmonetary damages if AMC avoidedbankruptey,
      estimating that “the maximum post-trial damages is [$]692 million. A729-30, A733. An opt¬

      out would have preserved dissenters’ share of the $692 million in damages claims that Plaintiff
      identified. That analysis only includes claims Plaintiffs prosecuted, not the numerous claims

      Plaintiffs didn’t. For instance, the trial court described the truthfulness of Defendants’

      statements “accompanyin the APE issuance that no conversion was intended as a “thi reed *

      to uphold an injunction. MO at 72. Perhaps. But the trial court put no value on federal securities

      claims arising from those statements. Id.; cf. A729 (Plaintiffs’ counsel arguing that a higher

      post-transaction share price implies lower potential post-trial damages). Plaintiffs contention

      that “no viable claim for money damages exists contradicts their $692 million trial court

      damages estimate. That estimate adopted Plaintiffs’ Panglossian theory that Defendants’

      transaction would not harm AMC. We now know actual damages were far worse. 401 On Page

     21, Kittila writes on how the plaintiffs in case 2023-0215-MTZ did not represent the class,
      Kittila states: Plaintiffs sued purporting to defend stockholders from Defendants’ scheme to

      frustrate stockholders’ ability to vote “no. They settled championing the cause of stockholders

     who voted “yes. The spirited opposition to Plaintiffs’ settlement merely highlights a problem




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      that would exist no matter how many stockholders objected. 402 On page 24, Kittila calls out

      the eligibility of one of the plaintiffs (Franchi), Kittila states: In federal court, AMC
      stockholders would have two protections under the Private Securities Litigation Reform Act

      ( PSLRA ). First, it limits “professional plaintiffs to five securities class actions in a three-

      year period. See 15 U.S.C. §78u4(a)(3)(B)(vi). Franchi s litigation history would call his
      leadership into question.”403 On Page 26, Kittila states: Due process and this Court s

      precedent in Prezant precluded certification of Franchi and Allegheny as representatives. But

      Plaintiffs small stockholdings, coupled with the unusual last-minute refusal of the only

      significant stockholder plaintiff to support the settlement, call into question the discretionary;
      decision to deem these stockholder plaintiffs adequate. 404 On Pa e 27, Kittila concludes: For;
      the foregoing reasons, and those set forth in the opening brief, reversal and remand of the trial

      court’s orders approving the settlement and dismissing the action is appropriate to preserve

      valuable claims of dissenting stockholders. 405




  854. The calamity that Lead Counsel, Franchi, and ACER derided as "wild speculation" during

      the Settlement Hearing has indeed materialized: AMC's market capitalization plummeted

      following the conversion reverse split. Within a few months, it declined from $4.50 billion to

      $790 million, mirroring the fate of tickers such as OPGN, AVGR, and AGRX, as Jon

      Merriman's emails eerily foreshadowed on May 27th, 2022, several months before APE was

      even launched.




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  855. The Project Popcorn scheme has led to AMC s market capitalization declining from $23.7

     billion in November 2021 to only $780 million in February 2024.


  856. The AMC Defendants and Lead Plaintiffs procured this settlement based on concealment

     rather than disclosure and by fraud. The scheme involved not only the reverse split but also

     the plan to recruit "friendly" plaintiffs to manipulate a lawsuit that ultimately yielded no real

     benefit for shareholders but provided releases (protection) for the AMC Board. Allegheny and

     Franchi, as Plaintiffs, opposed any efforts to provide shareholders with discovery, refrained

     from conducting any depositions, opposed motions from pro se shareholders to intervene,

     withheld documents, failed to notify their class in a timely manner, frequently misclassified

     compliant shareholders on the objection list, and collaborated with the AMC defendants to

     secure releases as part of a non-opt-out settlement.




                                              COUNT I
     Violations of Section 10(b) of the Exchange Act and Rule 1 Ob-5 Promulgated Thereunder

                              (Against the Project Popcorn Defendants)


     857. Plaintiff Willis incorporates by reference paragraphs 1 through 856 as if more fully
         set forth herein.




                                      PRAYER FOR RELIEF


                 WHEREFORE, Plaintiff Willis respectfully requests that the Court grant the
         following relief jointly and severely against Defendants:

             A. Compensatory damages in an amount to be detennined at trial;
             B. Punitive damages against
             C. Such other further relief as the Court may deem just and proper.
                                                I.
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  DATED:      February 23rd, 2024          Respectfully submitted,
